     Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5626 Page 1 of 58


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15
                            SOUTHERN DISTRICT OF CALIFORNIA
16
                                          Case No. 12-CV-3032 JLS JLB
17
                                              PLAINTIFFS’ MEMORANDUM OF
18     LINDSAY R. COOPER, et al.,             POINTS AND AUTHORITIES IN
                                              OPPOSITION TO DEFENDANT
19                                            TOKYO ELECTRIC POWER
                  Plaintiffs,                 COMPANY’S MOTIONS TO
20                                            DISMISS THIRD AMENDED
       vs.                                    COMPLAINT FOR LACK OF
21                                            PERSONAL JURISDICTION,
                                              UNDER THE DOCTRINES OF
22     TOKYO ELECTRIC POWER                   INTERNATIONAL COMITY AND
       COMPANY, INC. aka TEPCO,               FORUM NON CONVENIENS, AND
23                                            FAILURE TO STATE A CLAIM
       GENERAL ELECTRIC, EBASCO,
24     TOSHIBA, HITACHI and Does              Judge: Hon. Janis L. Sammartino
       5 through 200, inclusive
25                                            Date: [To be set by Court, if needed]
                                              Time: [To be set by Court, if needed]
                  Defendants.                 Crtrm: 4A (Schwartz Building)
26
                                                     221 West Broadway
27                                                   San Diego

28


                                                                           17-cv-1671 JLS JLB
     Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5627 Page 2 of 58


 1                                      TABLE OF CONTENTS
 2     Introduction                                                                                1
 3     I.     Factual and Procedural Background                                                    1
 4
       II.    Legal Standard                                                                       3
 5
       III.   Argument                                                                             4
 6
 7              A. Defendant TEPCO Has Waived Personal Jurisdiction.                               4
 8
                      i. TEPCO Has Manifestly Waived Personal Jurisdiction By
 9                       Actively Litigating It For The Past Five Years—
                         To The Ninth Circuit and Back.                                            5
10
11                    ii. TEPCO Could Have Raised Personal Jurisdiction In An Earlier
                          Motion, As The Opinion In Bristol-Myers Did Not Establish
12
                          New Law Or Make The Defense Newly Available.                             7
13
                         a. Bristol-Myers Did Not Change Personal Jurisdiction Law.                7
14
15                       b. Even If Bristol-Myers Had Changed The Law, TEPCO
                            Previously Had The Same Grounds For Its Personal Jurisdiction
16
                            Defense That It Has Now.                                               8
17
                         c. The Holdings of Bristol-Myers Are Inapposite To This Case.           10
18
19              B. This Court Has Personal Jurisdiction Over TEPCO, Pursuant To
                   Either Specific Jurisdiction Law Or The Federal Long Arm Statute.             10
20
21                    i. This Court Has Specific Jurisdiction Over TEPCO For The Claims
                         Brought By Plaintiffs In This Action.                                   12
22
23                       a. This Court Has Specific Jurisdiction Over Plaintiffs’
                            Claims Because TEPCO Directed Its Gross Negligence
24
                            At U.S. Naval Ships, Which Are United States Territory,
25                          And Those Ships Came from San Diego.                                 13
26
                         b. TEPCO Has Maintained Sufficient Contact With The
27                          State of California In Advancing Its Energy Business
                            Interests To Support Specific Jurisdiction.                          17
28
                                                    i
        MEMORANDUM IN OPPOSITION TO DEFT. TEPCO'S MOTIONS TO DISMISS THIRD AMENDED COMPLAINT
                                                                                   17-cv-1671 JLS JLB
     Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5628 Page 3 of 58


 1
                   ii. This Court Has Jurisdiction Over TEPCO Pursuant to
 2
                       Fed. R. Civ. P. 4(k)(2).                                                 19
 3
               C. This Case Should Not Be Dismissed Based On International Comity
 4
                  Or Forum Non Conveniens, As Nothing Has Changed Since the Ninth
 5                Circuit Decided That Neither Warrant Dismissal.                               23
 6
                   i.     The Choice of Law Question Does Not Weigh Heavily In
 7                        Either Analysis, As It Has Not Been Made Yet And Because
                          This Court Is Able To Apply Any Potentially Governing Law.            23
 8
 9                              a. Choice-of-Law Is Not Ripe For Determination.                 24
10
                                b. In This Case, The Choice Of Law Is Unlikely To
11                                 Impact The Forum Non Conveniens Or International
                                   Comity Analyses.                                             25
12
13                 ii.    The Doctrine Of Forum Non Conveniens Still Does Not Apply
                          To This Case.                                                         28
14
15                        a. Private Interest Factors                                           29
16
                          b. Public Interest Factors                                            33
17
                   iii.   This Case Still Should Not Be Dismissed Under The Doctrine
18
                          Of International Comity.                                              34
19
               D. Plaintiffs Have Sufficiently Pled Their Claims.                               41
20
21                 i.     Plaintiffs Have Sufficiently Pled Their Class Claims,
                          And TEPCO Has Raised Issues More Suited For When
22
                          Class Certification Is Briefed and Considered                         42
23
24
                   ii.    Plaintiffs Have Sufficiently Pled Their Personal Injury Claims.       42
25
                   iii.   Manuel Leslie Has Properly Pled His Wrongful Death
26
                          and Survival Claims, As An Affidavit Is Only Required
27                        in State Court.                                                       43
28
                                                   ii
        MEMORANDUM IN OPPOSITION TO DEFT. TEPCO'S MOTIONS TO DISMISS THIRD AMENDED COMPLAINT
                                                                                  17-cv-1671 JLS JLB
     Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5629 Page 4 of 58


 1
                   iv.    Plaintiffs Appropriately Bring Their Claims for
 2
                          Loss of Consortium, For Those Plaintiffs Who
 3                        Are Spouses of the Injured.                                       44
 4
       IV.   Conclusion                                                                     44
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                  iii
        MEMORANDUM IN OPPOSITION TO DEFT. TEPCO'S MOTIONS TO DISMISS THIRD AMENDED COMPLAINT
                                                                              17-cv-1671 JLS JLB
     Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5630 Page 5 of 58


 1                                        TABLE OF AUTHORITIES
       FEDERAL CASES
 2
       Abrams Shell v. Shell Oil Co.,
 3
       165 F. Supp. 2d 1096 (C.D. Cal. 2001)                                                  9
 4
       Altmann v. Austria,
 5
       317 F.3d 954 (9th Cir.2002)                                                      30, 31
 6
       Alvarez v. NBTY, Inc.,
 7
       No. 17-CV-00567-BAS-BGS, 2017 WL 6059159(S.D. Cal. Dec. 6, 2017)                   8, 9
 8
       Am. Ass’n of Naturopathic Physicians v. Hayhurst,
 9
       227 F.3d 1104 (9th Cir. 2000)                                                          5
10
       Arno v. Club Med Boutique, Inc.,
11
       134 F.3d 1424 (9th Cir. 1998)                                                        26
12
       Ashcroft v. Iqbal,
13
       556 U.S. 662 (2009)                                                               4, 41
14
       Baris v. Sulpicio Lines, Inc.,
15
       932 F.2d 1540 (5th Cir. 1991)                                                        28
16
       Bell Atlantic Corp. v. Twombly,
17
       550 U.S. 544 (2007)                                                               4, 41
18
       Boston Telecommunications Grp., Inc. v. Deloitte Touche Tohmatsu,
19
       249 F. App’x 534 (9th Cir. 2007)                                                       4
20
       Brazil v. Dole Food Co.,
21
       No. 12-CV-01831-LHK, 2013 WL 5312418 (N.D. Cal. Sept. 23, 2013)                      24
22
       Bristol-Myers Squibb Co. v. Superior Court of California,
23
       137 S.Ct. 1773 (2017)                                                           passim
24
       Bruton v. Gerber Prod. Co.,
25
       No. 12–cv–2412, 2014 WL 172111 (N.D.Cal. Jan.15, 2014)                               24
26
       Burger King Corp. v. Rudzewicz,
27
       471 U.S. 462 (1985)                                                              12, 19
28
                                                  iv
        MEMORANDUM IN OPPOSITION TO DEFT. TEPCO'S MOTIONS TO DISMISS THIRD AMENDED COMPLAINT
                                                                              17-cv-1671 JLS JLB
     Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5631 Page 6 of 58


 1     Chatman-Bey v. Thornburgh,
       864 F.2d 804, 813 (D.C. Cir. 1988)                                                        7
 2
 3     City of Dearborn Heights Act 345 Police & Fire Ret. Sys. v. Align Tech., Inc.
       856 F.3d 605 (9th Cir. 2017)                                                              4
 4
 5     CollegeSource, Inc. v. AcademyOne, Inc.,
       653 F.3d 1066, 1073 (9th Cir. 2011)                                                  4, 12
 6
 7     Cooper, et al v. Tokyo Electric Power Company, Inc., et al.,
       3:12-cv-3032-JLS-JLB (S.D.Cal. Dec. 21, 2012)                                      passim
 8
 9     Cooper v. Tokyo Elec. Power Co., Inc.,
       860 F.3d 1193 (9th Cir. 2017)                                                      passim
10
11     Czuchaj v. Conair Corp.,
       No. 13-CV-1901-BEN RBB, 2014 WL 1664235 (S.D. Cal. Apr. 18, 2014)                       24
12
13     Dalkilic v. Titan Corp.,
       516 F. Supp. 2d 1177 (S.D. Cal. 2007)                                                   26
14
15     Dawkins v. White Products Corp. of Middleville, Michigan,
       443 F.2d 589 (5th Cir. 1971)                                                            16
16
17     Dean v. Colgate-Palmolive Co.,
       No. EDCV 15–0107 JGB, 2015 WL 3999313 (C.D. Cal. June 17, 2015)                         24
18
19     Dole Food Co., Inc. v. Watts,
       303 F.3d 1104 (9th Cir. 2002)                                                           28
20
21     Fireman's Fund Ins. Co. v. Murray,
       1992 U.S. App. LEXIS 15448 (9th Cir. 1992)                                              26
22
23     Frenzel v. AliphCom,
       76 F. Supp. 3d 999 (N.D. Cal. 2014)                                                     24
24
25     Gilmore v. Palestinian Interim Self-Gov't Auth.,
       843 F.3d 958 (D.C. Cir. 2016)                                                             7
26
27     Glater v. Eli Lilly & Co.,
       712 F.2d 735 (1st Cir. 1983)                                                              7
28
                                                   v
        MEMORANDUM IN OPPOSITION TO DEFT. TEPCO'S MOTIONS TO DISMISS THIRD AMENDED COMPLAINT
                                                                                 17-cv-1671 JLS JLB
     Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5632 Page 7 of 58


 1
       Goodyear Dunlop Tires Operations, S.A. v. Brown,
 2
       564 U.S. 915 (2011)                                                                    8
 3
       Greatship (India) Ltd. v. Marine Logistics Sols. (Marsol) LLC,
 4
       No. 11 CIV. 420 RJH, 2012 WL 204102 (S.D.N.Y. Jan. 24, 2012)                         20
 5
       Hamilton v. Atlas Turner, Inc.,
 6
       197 F.3d 58 (2d Cir. 1999)                                                             6
 7
       Hanna v. Plumer,
 8
       380 U.S. 460 (1965)                                                                  44
 9
       Hartford Fire Ins. Co. v. California,
10
       509 U.S. 764 (1993)                                                                  35
11
       Hawknet, Ltd. v. Overseas Shipping Agencies,
12
       590 F.3d 87 (2d Cir. 2009)                                                             9
13
       Helfant v. Kugler
14
       500 F.2d 1188, 1201 (3d Cir. 1974 )                                                  40
15
       Helicopteros Nacionales de Colombia, S.A. v. Hall,
16
       466 U.S. 408, 414 (1984)                                                             12
17
       Hellenic Lines, Ltd. v. Rhoditas,
18
       398 U.S. 306 (1970)                                                                  16
19
       Holland Am. Line Inc. v. Wartsila N. Am., Inc.,
20
       485 F.3d 450 (9th Cir. 2007)                                                         20
21
       Holzager v. Valley Hospital,
22
       646 F.2d 792 (2d Cir. 1981)                                                            7
23
       In re Atossa Genetics Inc Sec. Litig.,
24
       868 F.3d 784 (9th Cir. 2017)                                                           4
25
       In re Baycol Prods. Litig.,
26
       616 F.3d 778 (8th Cir. 2010)                                                         44
27
       In re Murchison,
28
                                                   vi
        MEMORANDUM IN OPPOSITION TO DEFT. TEPCO'S MOTIONS TO DISMISS THIRD AMENDED COMPLAINT
                                                                              17-cv-1671 JLS JLB
     Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5633 Page 8 of 58


 1     349 U.S. 133 (1955)                                                                  40
 2
       In re Morning Song Bird Food Litig.,
 3     No. 12CV01592 JAH-AGS, 2018 WL 1382746 (S.D. Cal. Mar. 19, 2018)                    8, 9
 4
       In re TMI Gen. Pub. Utils. Corp.,
 5     67 F.3d 1103 (3rd Cir. 1995)                                                         35
 6
       Insurance Corp. of Ireland Ltd. v. Compagnie des Bauxites de Guinee,
 7     456 U.S. 694 (1982)                                                                    4
 8
       International Shoe Co. v. Washington,
 9     326 U.S. 310 (1945)                                                                  12
10
       J. McIntyre Mach., Ltd. v. Nicastro,
11     564 U.S. 873 (2011)                                                                  11
12
       Keeton v. Hustler Magazine, Inc.,
13     465 U.S. 770 (1984)                                                                  12
14
       Kroger Company v. Dornbos,
15     408 F.2d 813 (6th Cir. 1969)                                                         16
16
       L.A. Gem & Jewelry Design, Inc. v. An & Associates,
17     No. CV17-2417-CAS(JEMX), 2017 WL 6209816 (C.D. Cal. Dec. 6, 2017)                    19
18
       Lauritzen v. Larsen,
19     345 U.S. 571 (1953)                                                                  16
20
       Lopez v. Smith,
21     203 F.3d 1122 (9th Cir. 2000)                                                        43
22
       Lueck v. Sundstrand Corp.,
23     236 F.3d 1137 (9th Cir. 2001)                                                        28
24
       Matute v. Procoast Navigation Ltd.,
25     928 F.2d 627 (3d Cir.1991)                                                           16
26
       Milliken v. Meyer,
27     311 U.S. 457 (1940)                                                                  12
28
                                                 vii
        MEMORANDUM IN OPPOSITION TO DEFT. TEPCO'S MOTIONS TO DISMISS THIRD AMENDED COMPLAINT
                                                                              17-cv-1671 JLS JLB
     Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5634 Page 9 of 58


 1     Moore v. Kayport Package Express,
       885 F.2d 531 (9th Cir. 1989)                                                         43
 2
 3     Mujica v. AirScan, Inc.,
       771 F.3d 580 (9th Cir. 2014)                                                35, 37, 40
 4
 5     Pebble Beach Co. v. Caddy,
       453 F.3d 1151 (9th Cir. 2006)                                                         4
 6
 7     Peregrine Myanmar v. Segal,
       89 F.3d 41 (2d Cir. 1996)                                                            32
 8
 9     Peterson v. Highland Music, Inc.,
       140 F.3d 1313 (9th Cir. 1998)                                                       4, 5
10
11     Piper Aircraft Co. v. Reyno,
       454 U.S. 235 (1981)                                                              29, 32
12
13     Putnam Res. v. Pateman,
       958 F.2d 448 (1st Cir. 1992)                                                         26
14
15     Ranza v. Nike, Inc.,
       793 F.3d 1059 (9th Cir. 2015)                                                        28
16
17     Ravelo Monegro v. Rosa,
       211 F.3d 509(9th Cir. 2000)                                                          28
18
19     Satz v. McDonnell Douglas Corp.,
       244 F.3d 1279 (11th Cir. 2001)                                                       40
20
21     Schwarzenegger v. Fred Martin Motor Co.,
       374 F.3d 797 (9th Cir. 2004)                                                         12
22
23     Sloan v. Gen. Motors LLC,
       287 F. Supp. 3d 840 (N.D. Cal. 2018)                                                5, 8
24
25     Smith v. Specialized Loan Servicing, LLC,
       No. 16CV2519-GPC(BLM), 2017 WL 4050344 (S.D. Cal. Sept. 13, 2017)                    44
26
27     Sobol v. Imprimis Pharm.,
       No. CV 16-14339, 2018 WL 2424009 (E.D. Mich. May 29, 2018)                             8
28
                                                  viii
        MEMORANDUM IN OPPOSITION TO DEFT. TEPCO'S MOTIONS TO DISMISS THIRD AMENDED COMPLAINT
                                                                              17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5635 Page 10 of 58


 1
     State Farm Mut. Auto. Ins. Co. v. Campbell,
 2
     538 U.S. 408 (2003)                                                                  37
 3
     TreeFrog Developments, Inc. v. Seidio, Inc.,
 4
     No. 13CV0158-IEG KSC, 2013 WL 4028096 (S.D. Cal. Aug. 6, 2013)                       41
 5
     United States v. Corey,
 6
     232 F.3d 1166 (9th Cir. 2000)                                                        14
 7
     United States v. Rodgers,
 8
     150 U.S. 249 (1893)                                                                  14
 9
     United States v. Swiss Am. Bank, Ltd.,
10
     191 F.3d 30 (1st Cir. 1999)                                                          20
11
     United Trading Company S.A. v. M.V. Sakura Reefer et al.,
12
     No. 95–2846, 1996 WL 374154 (S.D.N.Y. July 2, 1996)                                  20
13
     W. Africa Trading & Shipping Co. v. London Int'l Grp.,
14
     968 F. Supp. 996 (D.N.J. 1997)                                                       20
15
     Walker v. Univ. Books, Inc.,
16
     382 F. Supp. 126 (N.D. Cal. 1974)                                                    16
17
     Williams v. Gleneagle Ship Mgmt. Co.,
18
     No. CIV. A. 91-0927, 1991 WL 208989 (E.D. Pa. Oct. 8, 1991)                          15
19
     Won Kyung Hwang v. Ohso Clean, Inc.,
20
     No. C–12–06355, 2013 WL 1632697 (N.D.Cal. Apr.16, 2013)                          24, 25
21
     World Tanker Carriers Corp. v. M/V Ya Mawlaya,
22
     99 F.3d 717 (5th Cir. 1996)                                                          20
23
     STATE COURT CASES
24
25   Egan v. Mutual of Omaha Ins. Co,
     24 Cal.3d 809 (1979)                                                                 37
26
27   Gray v. American Radiator and Standard Sanitary Corporation,
     22 Ill.2d 432, 176 N.E.2d 761 (1961)                                                 16
28
                                                   ix
      MEMORANDUM IN OPPOSITION TO DEFT. TEPCO'S MOTIONS TO DISMISS THIRD AMENDED COMPLAINT
                                                                            17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5636 Page 11 of 58


 1
     Metal-Matic, Inc. v. Eighth Judicial District Court,
 2
     82 Nev. 263, 415 P.2d 617 (1966)                                                     16
 3
     Scandinavian Airlines Sys., Inc. v. Los Angeles Cty.,
 4
     56 Cal. 2d 11, 30, 363 P.2d 25, 36 (1961)                                            16
 5
     MILITARY COURT CASES
 6
 7   United States v. Collins,
     6 M.J. 560, 562 (N.C.M.R. 1978)                                                  14, 15
 8
 9
     STATUTES AND RULES
10
     10 U.S.C. § 404                                                                      38
11
12   10 U.S.C. § 502                                                                      36
13
     10 U.S.C. § 7653                                                                     16
14
     18 U.S.C. § 7                                                                        14
15
16   California Code of Civil Procedure § 377.32                                          43
17
     California Code of Civil Procedure § 410.10                                          12
18
     Fed. R. Civ. P. 4(k)(2)                                                          19, 20
19
20   Fed.R.Civ.P. 12                                                                   5, 10
21
     TREATIES AND CONVENTIONS
22
     CONVENTION ON THE HIGH SEAS, opened for signature April 29, 2958,
23
     13 U.S.T. 2321 (entered into force September 20, 1962)                               15
24
     CONVENTION ON NUCLEAR SAFETY (ratified 1999)                                         35
25
26   UNITED NATIONS CONVENTION ON THE LAW OF THE SEA (1994),
     http://www.un.org/depts/los/convention_agreements/texts/unclos/part2.htm             15
27
28   IAEA CONVENTION ON EARLY NOTIFICATION OF A NUCLEAR ACCIDENT
                                                   x
      MEMORANDUM IN OPPOSITION TO DEFT. TEPCO'S MOTIONS TO DISMISS THIRD AMENDED COMPLAINT
                                                                            17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5637 Page 12 of 58


 1   (ratified 1988)                                                                           35
 2
     INTERNATIONAL ATOMIC ENERGY AGENCY CONVENTION ON ASSISTANCE IN THE
 3   CASE OF A NUCLEAR ACCIDENT OR RADIOLOGICAL EMERGENCY (ratified 1988)                      35
 4
     OTHER AUTHORITIES
 5
     William J. Broad, Military Crew Said To Be Exposed to Radiation,
 6   but Officials Call Risk in U.S. Slight, NEW YORK TIMES (March 13, 2011),
     http://www.nytimes.com/2011/03/14/world/asia/14plume.html                                 15
 7
 8   Energy Impact Partners Press Release, Tokyo Electric Power
     Company Holdings Joints Energy Impact Partners Utility Coalition,
 9
     MARKET WIRED, http://www.marketwired.com/press-release/tokyo-electric-power-
10   company-holdings-joins-energy-impact-partners-utility-coalition-2199649.htm               18
11
     Energy Excelerator Partners with TEPCO,
12   World’s Fourth Largest Utility to Bring Innvocation to Japan,
     ELEMENTAL EXCELERATOR BLOG,
13
     https://elementalexcelerator.com/latest/articles/energy-excelerator-partners-with-tepco-
14   worlds-fourth-largest-utility-to-bring-innovation-to-japan.                          18, 19
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                 xi
      MEMORANDUM IN OPPOSITION TO DEFT. TEPCO'S MOTIONS TO DISMISS THIRD AMENDED COMPLAINT
                                                                                 17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5638 Page 13 of 58


 1                                        INTRODUCTION
 2         Plaintiffs are American servicemen and women who, at the request of the Japanese
 3   government, provided humanitarian aid to the people of Japan in the wake of the 2011
 4   earthquake and subsequent tsunami that demolished much of the nation. The Plaintiffs
 5   were ultimately exposed to large amounts of radiation during their mission, as a result of
 6   the meltdown at the Fukushima Nuclear Power Plant, which resulted from the gross
 7   negligence of Defendant Tokyo Electric Power Company (“TEPCO”). Plaintiffs and
 8   Defendant TEPCO have been litigating this case for over five years. TEPCO now, for
 9   the first time, brings a motion to dismiss based on personal jurisdiction. Not only has
10   TEPCO plainly waived its personal jurisdiction defense with respect to these claims, but
11   personal jurisdiction over TEPCO properly lies with this Court. In addition, Plaintiffs
12   provide ample detail and factual information in their Complaint to meet pleading
13   standards and therefore have stated claims for relief. Plaintiffs submit that, for the
14   reasons detailed below, TEPCO’s Motion to Dismiss should be denied, and that it is now
15   time to litigate their case on the merits.
16         I.     FACTUAL AND PROCEDURAL BACKGROUND
17         On March 11, 2011, a 9.0 magnitude earthquake & resulting tsunami hit Japan.
18   Almost immediately following the earthquake & tsunami, Japan requested help from the
19   United States. Shortly after the tsunami hit, there was a meltdown at the Fukushima
20   Nuclear Power Plant, which resulted in the emission of huge amounts of radiation
21   throughout the surrounding region. The boiling water reactors at the Fukushima Nuclear
22   Power Plant had melted down and, during their aid mission (“Operation Tomodachi”),
23   Plaintiffs were exposed to huge amounts of radiation. It is undisputed that the negligence
24   of Defendant Tokyo Electric Power Company Holdings (hereinafter “TEPCO”), which
25   owned and operated the plant, was a primary cause of the meltdown. It should be noted
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                                                                                17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5639 Page 14 of 58


 1   that the Japanese government currently owns 50.1% of TEPCO’s voting rights.1 A
 2   thorough investigation of the meltdown, conducted by the Japanese government
 3   conducted, revealed that TEPCO was grossly negligent in its ownership, operation and
 4   maintenance of the Fukushima Nuclear Power Plant.
 5              Within 24 hours of the disaster, the United States Government diverted ships and
 6   military crews throughout the pacific to Japan to provide humanitarian aid. It was the
 7   biggest collaborative military effort in US-Japanese history. It was coined “Operation
 8   Tomodachi,” the Japanese word for friendship. The first ship to be diverted, and the first
 9   to arrive, was the U.S.S. Ronald Reagan, whose home port is Naval Base San Diego,
10   about three miles from the San Diego U.S. District Court for the Southern District of
11   California. TEPCO was aware of the radiation emanating from the plant, but lied to the
12   United States government about it. They have since returned home to the United States—
13   many here to San Diego—where many have experienced illnesses and medical conditions
14   due to their radiation exposure at Fukushima.
15              On December 21, 2012, Lindsay Cooper and others filed this action against
16   TEPCO asserting claims for personal injury resulting from their radiation exposure.
17   TEPCO’s first filing in this case was a Motion for Extension of Time to File Answer, on
18   March 15, 2013. (Dkt. No. 5.) TEPCO subsequently filed thirty-five documents with the
19   Court, including: Notice of Party with Financial Interests (Dkt. No. 6), Notice of Related
20   Cases (Dkt. No. 7), Notices of Appearance of Counsel (Dkt. Nos. 18, 25, 130, 131, 136),
21   Joint Motions (Dkt. Nos. 19, 23, 27, 47, 53, 57, 74, 129), Evidentiary Objections (Dkt.
22   Nos. 63, 91), Opposition to Motion to Amend (Dkt. No. 67), Motion for Reconsideration
23   (Dkt. No. 73), Substantive Declarations (Dkt. No. 103), and Status Reports (Dkt. Nos.
24   109, 142). TEPCO filed substantive Motions to Dismiss the Cooper complaint on June
25   21, 2013 (Dkt. No. 26) and March 27, 2014 (Dkt. No. 55), on grounds of Lack of Subject
26   																																																
27
     1
       https://asia.nikkei.com/Politics-Economy/Policy-Politics/Fukushima-plant-operator-to-
28   remain-under-state-control

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                                                                                 17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5640 Page 15 of 58


 1   Matter Jurisdiction, Failure to State a Claim, Forum Non Conveniens and International
 2   Comity.     It filed replies and objections to Plaintiffs’ responses, participated in
 3   conferences with Plaintiffs’ counsel and appeared at numerous substantive hearings
 4   before the Court. TEPCO did not raise, nor has it ever raised in over five years of
 5   litigating this case, the issue of personal jurisdiction.
 6         The Court granted in part and denied in part TEPCO’s Second Motion to Dismiss
 7   on October 28, 2014, and granted Plaintiffs leave to file a Third Amended Complaint
 8   (“TAC”). (Dkt. No. 71.) TEPCO then moved for reconsideration, which the Court
 9   allowed. (Dkt. No. 73.) The Court amended its Order, dismissing with prejudice claims
10   that it had previously dismissed, but not disturbing the remainder of its October 28, 2014
11   Order. (Dkt. No. 69.) The Court also granted TEPCO’s Motion for Certification of
12   Interlocutory Appeal. (Dkt. No. 107.) GE and TEPCO had each filed additional Motions
13   to Dismiss, which the Court denied as moot pending resolution of the interlocutory
14   appeal. (Dkt. No. 76.) The Court also stayed this case pending appeal. (Id.)
15         TEPCO appealed the Court’s decision to the Ninth Circuit on June 22, 2015.
16   TEPCO filed three briefs with the Ninth Circuit, argued before the Ninth Circuit and
17   made two presentations to the United States government regarding the issues on appeal.
18   Again, at no time during the appeal did TEPCO raise the issue of personal jurisdiction.
19   The Ninth Circuit issued its opinion affirming this Court’s decision on June 22, 2017, and
20   the mandate came down on July 24, 2017. A companion case, Bartel v. TEPCO, et al.,
21   3:17-cv-01671-JLS-JLB, was filed on August 18, 2017 and transferred to this Court
22   pursuant to the low number rule. The Court held a Status Conference on August 31,
23   2017, wherein it determined to first hear motions in the Bartel matter before proceeding
24   with responses on the Third Amended Complaint in this case. The Court dismissed the
25   Bartel case, without prejudice, as to both Defendants on separate jurisdictional grounds.
26   Plaintiffs refiled the Bartel claims in a new case, Bartel v. TEPCO, et al., 3:18-cv-00537-
27   JLS-JLB, on March 14, 2018, which was low-numbered to this Court. Defendants
28   TEPCO and GE filed their instant Motions to Dismiss, which Plaintiffs now oppose.

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                                                                                17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5641 Page 16 of 58


 1          II.    LEGAL STANDARD
 2          A complaint should only be dismissed if it does not “contain sufficient factual
 3   matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft
 4   v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S.
 5   544, 570 (2007)). In evaluating the complaint, the court “accept[s] the [P]laintiffs’
 6   allegations as true and construe[s] them in the light most favorable to [P]laintiffs.” In re
 7   Atossa Genetics Inc Sec. Litig., 868 F.3d 784, 793 (9th Cir. 2017)(citing City of Dearborn
 8   Heights Act 345 Police & Fire Ret. Sys. v. Align Tech., Inc. 856 F.3d 605, 612 (9th Cir.
 9   2017)). A complaint need not contain “detailed factual allegations” so long as the
10   allegations “raise a right to relief above the speculative level.” Twombly, 550 U.S. at
11   555.
12          At the motion to dismiss stage, Plaintiffs need only make a prima facie showing
13   that personal jurisdiction is proper. Peterson v. Highland Music, Inc., 140 F.3d 1313,
14   1319 (9th Cir. 1998), as amended on denial of reh'g and reh'g en banc (June 15, 1998);
15   CollegeSource, Inc. v. AcademyOne, Inc., 653 F.3d 1066, 1073 (9th Cir. 2011). While
16   allegations controverted by affidavit need not be taken as true, all factual disputes must
17   be resolved in the plaintiff's favor. Pebble Beach Co. v. Caddy, 453 F.3d 1151, 1154 (9th
18   Cir. 2006).
19          III.   ARGUMENT
20                 A. Defendant TEPCO Has Waived Personal Jurisdiction.
21          TEPCO attempts to raise the defense of personal jurisdiction years into this
22   litigation, but that defense has long been waived. It is black letter law that a defendant
23   must raise the defense of personal jurisdiction in its first response to a complaint, or the
24   defense is deemed waived. Fed. R. Civ. P. 12(h)(1). “The requirement that a court have
25   personal jurisdiction is an individual right that may be waived either explicitly or
26   implicitly.” Boston Telecommunications Grp., Inc. v. Deloitte Touche Tohmatsu, 249 F.
27   App’x 534, 536 (9th Cir. 2007)(citing Insurance Corp. of Ireland Ltd. v. Compagnie des
28   Bauxites de Guinee, 456 U.S. 694, 703–05, (1982)). TEPCO has plainly waived the

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                                                                                    17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5642 Page 17 of 58


 1   defense of personal jurisdiction by failing to raise it at any point over the past half-decade
 2   it has been litigating this case. Moreover, TEPCO’s argument that the law of personal
 3   jurisdiction substantively changed by virtue of the decision in Bristol-Myers Squibb Co.
 4   v. Superior Court of California, 137 S.Ct. 1773 (2017), is deeply flawed and directly
 5   contradicts language in the decision itself explaining the basis for the Court’s opinion.
 6                                      i. TEPCO Has Manifestly Waived Personal Jurisdiction In This
                                           Case by Actively Litigating It For The Past Five Years—To
 7
                                           The Ninth Circuit And Back.
 8
                As outlined supra, TEPCO has been actively litigating these claims for over five
 9
     years. TEPCO has filed over thirty-five documents in this case, including multiple
10
     motions to dismiss. TEPCO even took an interlocutory appeal to the Ninth Circuit on the
11
     denial of its substantive motion to dismiss. That appeal was unsuccessful, and TEPCO
12
     now attempts to further stonewall this case by raising the defense of personal jurisdiction
13
     far too late.
14
                The defense of personal jurisdiction, unlike subject-matter jurisdiction, is waived if
15
     it is not raised in the initial responsive pleading. Id.; see also Fed. R. Civ. P. 12(h).2
16
     Where a Defendant determines to litigate a case on its merits, it waives personal
17
     jurisdiction. To that end, courts apply waiver of personal jurisdiction “as a result of the
18
     course of conduct pursued by a party during litigation.” Peterson, 140 F.3d at 1318.
19
     Indeed, courts deem the defense of personal jurisdiction waived when a defendant fails to
20
     raise it early or otherwise participates in the litigation.            Am. Ass’n of Naturopathic
21
22   																																																

23   2
       It is worth noting that Rule 12’s language is mandatory, not discretionary. Sloan v.
24   Gen. Motors LLC, 287 F. Supp. 3d 840, 855 (N.D. Cal. 2018), order clarified, No. 16-
     CV-07244-EMC, 2018 WL 1156607 (N.D. Cal. Mar. 5, 2018)(citing Fed. R. Civ. P.
25   12(g)(2)(a party making a motion “must not make another motion under this rule raising a
26   defense or objection that was available to the party but omitted from its earlier motion”)
     and Fed. R. Civ. P. 12(h)(1) (“A party waives any defense listed in Rule 12(b)(2)–(5) by:
27   (A) omitting it from a motion in the circumstances described in Rule 12(g)(2) ....”).
28

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 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5643 Page 18 of 58


 1   Physicians v. Hayhurst, 227 F.3d 1104 (9th Cir. 2000)(holding that defendant waived
 2   defense of personal jurisdiction by failing to include it in his motion to set aside default
 3   judgment).
 4         TEPCO has manifestly waived the defense of personal jurisdiction by actively
 5   litigating this case—to the Ninth Circuit and back—for over five years. Moreover,
 6   TEPCO’s previous motions, as well as its appeal to the Ninth Circuit, were deeply
 7   substantive. They raised issues of justiciability, the applicability of an assumption of risk
 8   doctrine—the firefighter’s rule, forum non conveniens, and international comity.
 9   Hamilton v. Atlas Turner, Inc., 197 F.3d 58 (2d Cir. 1999)(holding that defendant had
10   forfeited defense of personal jurisdiction by participating in extensive pretrial
11   proceedings during four-year interval that followed its inclusion of the defense in its
12   answer). TEPCO has engaged in active litigation before this Court and before the Ninth
13   Circuit, including submission of substantive briefs and appearance at multiple hearings.
14   In advancing its various arguments in this matter, at no time did it claim that this Court
15   had no personal jurisdiction.     Moreover, TEPCO participated in several substantive
16   conferences in this case—including meetings with Plaintiffs’ counsel and meetings with
17   the United States Government advocating their position in the Ninth Circuit. At no time
18   during any of those discussions did TEPCO raise the issue of personal jurisdiction.
19         Indeed, this Court tentatively, and correctly, found in the sister case, that the
20   defense of personal jurisdiction has been waived in the instant case. The Court directly
21   stated: “TEPCO has waived personal jurisdiction in the Cooper matter.” (Mot. To
22   Dismiss Hr’g. Tr. at 4:15-16, Bartel v. TEPCO, et al., 3:17-cv-01671-JLS-JLB)(emphasis
23   added). It is indeed evident, based on the long course of this litigation, that TEPCO
24   waived the defense of personal jurisdiction.       TEPCO’s argument to the contrary is
25   specious.
26
27
28

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                                                                                  17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5644 Page 19 of 58


 1                      ii. TEPCO Could Have Raised Personal Jurisdiction In An
                            Earlier Motion, As The Opinion in Bristol-Myers Did Not
 2
                            Establish New Law Or Make The Defense Newly Available.
 3
           The “newly available” exception to waiver is a high bar to meet, and Defendant
 4
     TEPCO’s argument falls far short. A defense is “unavailable” only “if its legal basis did
 5
     not exist at the time of the answer or pre-answer motion.” Chatman-Bey v. Thornburgh,
 6
     864 F.2d 804, 813 (D.C. Cir. 1988)(citing Holzager v. Valley Hospital, 646 F.2d 792, 796
 7
     (2d Cir.1981) and Glater v. Eli Lilly & Co., 712 F.2d 735, 738–39 (1st Cir.1983)). A
 8
     “legal basis” for the personal jurisdiction defense exists as long as “no Supreme Court or
 9
     in-circuit precedent render[s] the personal-jurisdiction defense ‘for all practical purposes
10
     impossible for the defendants to interpose.’” Gilmore v. Palestinian Interim Self-Gov't
11
     Auth., 843 F.3d 958, 964–65 (D.C. Cir. 2016), cert. denied, 138 S. Ct. 88, 199 L. Ed. 2d
12
     26 (2017)(citing Chatman-Bey, 864 F.2d at 813).
13
           Here, for the defense of personal jurisdiction to be “newly available,” two things
14
     must be true: (1) it must have been practically impossible for TEPCO to have raised the
15
     defense of personal jurisdiction prior to the decision in Bristol-Myers and (2) the Bristol-
16
     Myers decision must have changed the law so significantly that the defense now, for the
17
     first time, applies to TEPCO. Neither is true. To the contrary, Bristol-Myers did not
18
     change the law. Even if it had, the holdings did not create a “newly available” defense
19
     for TEPCO, because it could have relied on the exact same factual arguments at the
20
     outset of this case and because the holdings of Bristol-Myers do not apply here.
21
     Accordingly, TEPCO’s waiver of the personal jurisdiction still stands.
22
                        a. Bristol-Myers Did Not Change Personal Jurisdiction Law.
23
24         The Bristol-Myers case did not change the law as to personal jurisdiction, it simply

25   clarified it. In issuing its decision, the Supreme Court specifically stated that

26   “settled principles regarding specific jurisdiction control this case” and that the holding

27   therein was “a straightforward application… of settled principles of personal
28   jurisdiction.” Bristol-Myers Squibb Co., 137 S. Ct. at 1781, 1783. Indeed, only the

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                                                                                 17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5645 Page 20 of 58


 1   dissent in that case characterized the holding as creating new law. Id. at 1789. In
 2   reaching its finding, the Supreme Court specified that “the California court’s use of a
 3   sliding scale was not supported by precedent, including the Supreme Court’s decision
 4   in Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915 (2011), which
 5   required a connection between the forum and underlying controversy to support specific
 6   jurisdiction.” In re Morning Song Bird Food Litig., No. 12CV01592 JAH-AGS, 2018
 7   WL 1382746, at *2 (S.D. Cal. Mar. 19, 2018).
 8         Courts examining the question have agreed with the majority that the Bristol-
 9   Myers opinion did not create new law as to personal jurisdiction. In re Morning Song
10   Bird Food Litig., 2018 WL 1382746, at *2 (S.D. Cal. Mar. 19, 2018)(“This Court
11   finds Bristol-Myers is not an intervening change in controlling law”); Alvarez v. NBTY,
12   Inc., No. 17-CV-00567-BAS-BGS, 2017 WL 6059159, at *5 (S.D. Cal. Dec. 6,
13   2017)(S.D. Cal. Dec. 6, 2017)(“[t]hough Bristol-Myers is arguably instructive to federal
14   courts handling class actions, its holding did not create a new defense for Defendants that
15   was not available before its decision”); Sloan v. Gen. Motors LLC, 287 F. Supp. 3d at 854
16   (“Bristol–Myers did not reverse any Ninth Circuit precedent foreclosing Defendant's
17   challenge”); Sobol v. Imprimis Pharm., No. CV 16-14339, 2018 WL 2424009, at *2
18   (E.D. Mich. May 29, 2018)(finding that the “‘narrow equitable exception’ to the raise-or-
19   waive rule,” for newly-available defenses does not apply to the personal jurisdiction
20   defense post-Bristol-Myers). It is evident that Bristol-Myers did not constitute a change
21   in personal jurisdiction law, and TEPCO’s argument otherwise—which does not cite a
22   single case from this circuit supporting its position—is acutely erroneous.
23                      b. Even if Bristol-Myers Had Changed The Law, TEPCO Previously
                           Had The Same Grounds For Its Personal Jurisdiction Defense
24
                           That It Has Now.
25
           TEPCO could have raised the issue of personal jurisdiction in the first instance,
26
     and its argument would have looked almost identical to the argument that it raises now.
27
     As TEPCO concedes, the personal jurisdiction defense was available to it at the first pass
28

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                                                                                   17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5646 Page 21 of 58


 1   unless asserting the defense would have been “directly contrary to controlling precedent”
 2   which was “recently overruled.” Hawknet, Ltd. v. Overseas Shipping Agencies, 590 F.3d
 3   87, 92 (2d Cir. 2009). That is not true here. TEPCO could always have challenged
 4   personal jurisdiction in this case, as the “lack of personal jurisdiction defense was always
 5   available … because it is well settled law that a defendant can challenge personal
 6   jurisdiction relating to each named plaintiff in a class action.”       Alvarez, 2017 WL
 7   6059159, at *5 (S.D. Cal. Dec. 6, 2017)(citing Abrams Shell v. Shell Oil Co., 165 F.
 8   Supp. 2d 1096, 1107 n.5 (C.D. Cal. 2001)).
 9         Even if TEPCO were correct that a defense can be “unavailable” if Ninth Circuit
10   law precluded it, that proposition is inapplicable here. TEPCO could have raised the
11   personal jurisdiction defense in 2012 under then-prevailing Ninth Circuit principles.
12   Indeed, as the Court held in In re Morning Song Bird Food Litig., “Defendants were not
13   prevented from asserting lack of jurisdiction as to the named nonresident Plaintiffs prior
14   to the ruling in Bristol-Myers” and “[t]herefore, the defense was available to them at the
15   time they filed their original motion.” 2018 WL 1382746, at *2 (S.D. Cal. Mar. 19,
16   2018)(citing Abrams Shell v. Shell Oil Co., 165 F.Supp.2d 1096, 1107 n.5 (C.D. Cal.
17   2001)(“Notwithstanding the relaxation of venue and personal jurisdiction requirements as
18   to unnamed members of a plaintiff class, it is by now well settled that these requirements
19   to suit must be satisfied for each and every named plaintiff for the suit to go forward.”))
20         Even to the extent that Bristol-Myers elucidated the applicable standards, nothing
21   in TEPCO’s instant motion differs from what it could have presented prior to that
22   decision. Under the Ninth Circuit’s former sliding-scale approach to specific jurisdiction,
23   “the more wide ranging the defendant's forum contacts, the more readily is shown a
24   connection between the forum contacts and the claim.” Bristol-Myers Squibb Co., 137 S.
25   Ct. at 1778. Here, TEPCO still argues that it has virtually no contacts with this forum—
26   facts and analysis that were plainly available in 2012 when it filed its first motion to
27   dismiss this case. TEPCO’s arguments in 2018 rely exclusively on traditional and long
28   standing jurisdictional principles that were unchanged by Bristol-Myers—namely that

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                                                                                  17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5647 Page 22 of 58


 1   TEPCO failed to “purposefully direct” its activity toward the fora or to “purposefully
 2   avail” itself “of the privilege of conducting activities in the forum.” Thus, TEPCO now
 3   opportunistically relies on Bristol-Myers in an attempt to rectify its inexcusable failure to
 4   raise the defense earlier, as required by Rule 12. Unfortunately, Bristol-Myers cannot
 5   raise TEPCO’s personal jurisdiction defense from the dead.
 6                       c. The Holdings Of Bristol-Myers Are Inapposite To This Case.
 7         Lastly, Bristol-Myers did not change the availability of TEPCO’s personal
 8   jurisdiction defense because the holdings do not apply to this case. The Bristol-Myers
 9   Squibb is about state court jurisdiction and specifically reserved the question of whether
10   the same restrictions would apply to federal court. “Since our decision concerns the due
11   process limits on the exercise of specific jurisdiction by a State, we leave open the
12   question whether the Fifth Amendment imposes the same restrictions on the exercise of
13   personal jurisdiction by a federal court.” Bristol-Myers Squibb, 137 S. Ct. at 1783–84.
14   The Bristol-Myers court was also clearly concerned about widespread forum shopping.
15   Unlike the Bristol-Myers plaintiffs, the Plaintiffs in this case have a direct connection to
16   this forum. Most of them were on ships that deported from San Diego when they were
17   injured, and many of them are or were residents of California. This Court is the most
18   natural forum for the instant claims and the Plaintiffs bringing them. Also unlike the
19   Bristol-Myers plaintiffs, the Plaintiffs here are strongly connected to one another through
20   the very event about which they complain—their exposure to radiation during Operation
21   Tomodachi. The Bristol-Myers plaintiffs, on the other hand, were unconnected
22   consumers, many of whom did not buy or use the defective drug in California or have
23   any relationship to the California plaintiffs.
24                B. This Court Has Personal Jurisdiction Over TEPCO, Pursuant To
                     Either Specific Jurisdiction Law Or The Federal Long Arm Statute.
25
26         This case is simply not like any other the United States courts have seen. Plaintiffs
27   are United States servicemen and women Plaintiffs who were exposed to massive
28   amounts of radiation while aboard U.S. naval ships providing humanitarian aid to the

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                                                                                  17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5648 Page 23 of 58


 1   people of Japan. They were injured due to the gross negligence of a large foreign utility,
 2   TEPCO, which is now primarily owned by the Japanese government and the negligent
 3   design of nuclear reactors by GE, one of the largest companies in America. When
 4   Plaintiffs returned home to the United States, many started to experience serious illnesses
 5   abnormal for such a young, healthy population, and several have died.               Due to its
 6   extraordinarily distinct nature, no precedent cited by TEPCO is comparable to this case.
 7   The Court must look instead to guiding constitutional principles to make its own
 8   determination about whether the exercise of personal jurisdiction over TEPCO is proper.
 9   Plaintiffs resolutely submit that it is.
10              The touchstone of any jurisdictional analysis is whether the exercise of jurisdiction
11   would offend traditional notions of “fundamental fairness,” “fair play” and “substantial
12   justice.” See, e.g, J. McIntyre Mach., Ltd. v. Nicastro, 564 U.S. 873, 906, 131 S. Ct.
13   2780, 2801–02, 180 L. Ed. 2d 765 (2011)(“it would undermine principles
14   of fundamental fairness to insulate the foreign manufacturer from accountability in court
15   at the place within the United States where the manufacturer's products caused injury”).
16   Plaintiffs submit that, under the unique circumstances presented by this case, it is
17   fundamentally fair to retain personal jurisdiction over TEPCO. As described in detail
18   infra, TEPCO has maintained substantial contacts with the United States. TEPCO clearly
19   can and will mount a full defense to this lawsuit here in the United States—it has already
20   hired skilled local lawyers who have mounted half-decade long defense in this Court and
21   the Ninth Circuit.3
22
23
     																																																
24
     3
25     Notably, and as discussed in detail infra, the Plaintiffs in this case would have a
     significant disadvantage if they were forced to litigate their claims in Japan. These
26   individual service members would have to hire costly foreign lawyers, face a costly
27   language barrier, and would need to endure costly travel to a foreign court; none of this
     they can afford. While the analysis may focus on TEPCO’s contacts with the forum, this
28   fact certainly does bear on the notion of fundamental fairness.

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                                                                                     17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5649 Page 24 of 58


 1         A court can exercise personal jurisdiction over a defendant if the requirements of
 2   federal due process and state law are met. CollegeSource, 653 F.3d at 1073. California’s
 3   long-arm statute, codified in Cal.Civ.Proc.Code § 410.10, exercises jurisdiction to the full
 4   extent allowed by federal due process, such that “the jurisdictional analyses under state
 5   law and federal due process are the same.” Id. (citing Schwarzenegger v. Fred Martin
 6   Motor Co., 374 F.3d 797, 800–01 (9th Cir. 2004)). Due process requires only that a
 7   defendant have “certain minimum contacts” with the relevant forum “such that the
 8   maintenance of the suit does not offend ‘traditional notions of fair play and substantial
 9   justice.’” International Shoe      Co.    v.        Washington, 326   U.S.     310,       316
10   (1945)(quoting Milliken v. Meyer, 311 U.S. 457, 463 (1940)). Specific jurisdiction “is
11   satisfied if the defendant has ‘purposefully directed’ his activities at residents of the
12   forum and the litigation results from alleged injuries that ‘arise out of or relate to’ those
13   activities.” Burger King Corp. v. Rudzewicz, 471 U.S. 462, 472–73 (1985)(citing Keeton
14   v. Hustler Magazine, Inc., 465 U.S. 770, 774 (1984) and Helicopteros Nacionales de
15   Colombia, S.A. v. Hall, 466 U.S. 408, 414 (1984)). For the reasons discussed further
16   below, this standard is met both by TEPCO’s contacts in this District and by the United
17   States as a whole, under the federal long arm statute.
18                          i.       This Court Has Specific Jurisdiction Over TEPCO for
                                     the Claims Brought By Plaintiffs in This Action.
19
20         In this case, TEPCO’s substantial contacts with California, vis-à-vis the very
21   conduct that gives rise to the instant claims, meets the specific jurisdiction standard.
22   First, the United States Naval ships that Plaintiffs were assigned to when they were
23   radiated constitute United States soil. As those ships came primarily from San Diego and
24   had their home port in San Diego, it is natural that jurisdiction would lie in San Diego.
25   Second, TEPCO has maintained regular contact with California in advancing its energy
26   business interests, the very interests that were at the core of the Fukushima meltdown.
27   Accordingly, TEPCO is subject to specific personal jurisdiction for Plaintiffs claims here
28   in California.

                                                    12
                                                                                  17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5650 Page 25 of 58


 1         Plaintiffs also note that TEPCO’s heavy reliance on Bristol-Myers is deeply
 2   misplaced, as that decision clearly does not apply to this case. First, the Plaintiffs here
 3   have a direct connection to this forum—most were on ships that deported out of San
 4   Diego when they were injured and many of them are residents of California, or were
 5   during the relevant period. The primary issue addressed by Bristol-Myers was that many
 6   of the plaintiffs in that case had no connection to the forum. 137 S.Ct. 1773. Underlying
 7   that issue was concern about widespread forum shopping. Id. That is simply not the case
 8   here, as this Court is the most natural forum for the instant claims and the Plaintiffs
 9   bringing them. Second, unlike the Bristol-Myers plaintiffs, Plaintiffs in this case are
10   strongly connected to one another through the very event about which they complain.
11   The Bristol-Myers plaintiffs were unconnected consumers, many of whom did not buy or
12   use the defective drug in California or have any relationship to the California plaintiffs.
13   Id. To the contrary, here even Plaintiffs who are not residents of California are connected
14   to the forum, as well as the other Plaintiffs, through their joint participation in Operation
15   Tomodachi. Lastly, the Bristol Myers Court specifically held that its ruling only applied
16   to state court and reserved the question of whether it would apply in federal
17   court. Bristol-Myers Squibb, 137 S.Ct. at 1783-84 (“since our decision concerns the due
18   process limits on the exercise of specific jurisdiction by a State, we leave open the
19   question whether the Fifth Amendment imposes the same restrictions on the exercise of
20   personal jurisdiction by a federal court”). Accordingly, Bristol-Myers has no real bearing
21   on this case and this Court has specific jurisdiction over TEPCO for Plaintiffs’ claims.
22                                a. This Court Has Specific Jurisdiction Over Plaintiffs’
                                     Claims Because TEPCO Directed Its Gross Negligence
23
                                     at U.S. Naval Ships, Which are United States Territory,
24                                   And Those Ships Came from San Diego.
25
           Defendant’s Motion ignores a fundamental fact: Plaintiffs were all on United
26
     States soil when they were exposed to radiation from the Fukushima Nuclear Power
27
     Plant, because vessels of the United States Navy constitute United States territory.
28

                                                  13
                                                                                  17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5651 Page 26 of 58


 1   Plaintiffs then returned with these ships to their home ports in California, where they
 2   disembarked. Plaintiffs, most of whom are or were California residents, suffered illness
 3   and injury as a result of their exposure to the toxic radiation at Fukushima here in
 4   California.             Accordingly, TEPCO has “purposefully directed” its grossly negligent
 5   activity at the State of California.
 6              It is black letter law that any vessel of the United States Navy is considered
 7   sovereign United States territory. See, e.g., 18 U.S.C. §7 (extending U.S. territory to U.S.
 8   military naval ships and U.S. military bases worldwide). Accordingly, the vessels at
 9   issue are considered territory of the United States. See 18 U.S.C. §7(1).4                Because
10   Plaintiffs stationed on the vessels comprising Operation Tomodachi suffered harm while
11   located on U.S. territory, U.S. jurisdiction is automatically triggered. United States v.
12   Corey, 232 F.3d 1166, 1183 (9th Cir. 2000)(recognizing district court jurisdiction over
13   claims that fall within section 7’s purview).                Indeed, our Courts have consistently
14   recognized that a public vessel constructively constitutes a part of the territory of the
15   nation to which it belongs. “As we have before stated, a vessel is deemed part of the
16   territory of the country to which she belongs.” United States v. Rodgers, 150 U.S. 249
17   (1893); United States v. Collins, 6 M.J. 560, 562 (N.C.M.R. 1978), aff’d, 7 M.J. 188
18   (C.M.A. 1979).                    The United States Navy Ships on which Plaintiffs were deployed
19   constitute United States soil.
20   																																																
21
     4
       18 U.S.C. 7(1) provides in relevant part:
22         Special maritime and territorial jurisdiction of the United States defined, 1.) The
23         high seas, any other waters within the admiralty and maritime jurisdiction of the
           United States and out of the jurisdiction of any particular State, and any vessel
24         belonging in whole or in part to the United States or any citizen thereof, or to any
25         corporation created by or under the laws of the United States, or of any State,
           Territory, District, or possession thereof, when such vessel is within the admiralty
26         and maritime jurisdiction of the United States and out of the jurisdiction of any
27         particular State.
     (emphasis added)
28

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                                                                                        17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5652 Page 27 of 58


 1         That principle further provides that jurisdiction for acts or omissions aboard those
 2   vessels rests with the nation to which it belongs.     “Federal statutes, even though not
 3   written to specifically include the high seas within their jurisdiction, are as enforceable
 4   aboard U.S. ships as on U.S. soil.” Collins, 6 M.J. at 562–63. The Convention on the
 5   High Seas, a multi-lateral treaty to which the United States and Japan are both
 6   signatories, states that “[s]hips have the nationality of the State whose flag they are
 7   entitled to fly” and that ships “shall be subject to [that State’s] exclusive jurisdiction.”
 8   Convention on the High Seas art. 5 and art. 6, opened for signature April 29, 2958, 13
 9   U.S.T. 2321 (entered into force September 20, 1962). Moreover, “[w]arships on the high
10   seas,” which includes all United States Navy ships, as well as “[s]hips owned or operated
11   by a State” for government use “have complete immunity from the jurisdiction of any
12   State other than the flag State.” Convention on the High Seas art. 8 and art. 9. It is worth
13   clarifying that the ships at issue were primarily anchored in international waters—or “the
14   high seas”—outside of Japan’s territorial waters. The U.S.S. Reagan, for example, was
15   located 100 miles from the shore, plainly in international waters, when it first detected
16   large amounts of radiation emitting from the FNPP. William J. Broad, Military Crew
17   Said To Be Exposed to Radiation, but Officials Call Risk in U.S. Slight, NEW YORK TIMES
18   (March    13,     2011),    http://www.nytimes.com/2011/03/14/world/asia/14plume.html.
19   Japan’s territorial waters cannot extend more than 12 nautical miles—or 13.8 miles—
20   beyond its land territory. UNITED NATIONS CONVENTION ON THE LAW OF THE SEA, Part II
21   (1994),         http://www.un.org/depts/los/convention_agreements/texts/unclos/part2.htm.
22   Accordingly, the servicemen and women aboard the United States Naval ships that were
23   part of Operation Tomodachi were on United States soil when they suffered the radiation
24   exposure at issue here.
25         Moreover, when determining the jurisdiction of seagoing vessels, courts have
26   looked to the home port or the port of origin. Williams v. Gleneagle Ship Mgmt. Co., No.
27   CIV. A. 91-0927, 1991 WL 208989, at *1 (E.D. Pa. Oct. 8, 1991)(eight factors should be
28   considered in determining the forum and law applied in a personal injury case at sea: the

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                                                                                 17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5653 Page 28 of 58


 1   place of the injury, the law of the flag, the allegiance or domicile of the injured seaman,
 2   the allegiance of the ship owner, the place of contract, the inaccessibility of a foreign
 3   forum, law of the forum and the base of operations)(citing Lauritzen v. Larsen, 345 U.S.
 4   571 (1953); Matute v. Procoast Navigation Ltd., 928 F.2d 627, 631–32 (3d
 5   Cir.1991); Hellenic Lines, Ltd. v. Rhoditas, 398 U.S. 306 (1970)); Scandinavian Airlines
 6   Sys., Inc. v. Los Angeles Cty., 56 Cal. 2d 11, 30, 363 P.2d 25, 36 (1961) (ships “may not
 7   be taxed by any jurisdiction other than that of their home port”); 10 U.S.C. § 7653
 8   (requiring adjudication of any prize to be brought “in the district in which the port is
 9   located”). The home port for the U.S.S. Ronald Reagan, the first ship to arrive at
10   Fukushima, was San Diego, California.5 It disembarked from San Diego and returned to
11   San Diego. The servicemen and women aboard the U.S.S Reagan were domiciled in San
12   Diego, with their assigned ship, at the time of the incident. Accordingly, jurisdiction lies
13   with the Southern District of California, the home port of the vessel and its crew.
14              TEPCO’s gross negligence, as outlined in the Complaint, was clearly directed at
15   these United States Naval ships coming from California. TEPCO’s negligent acts gave
16   rise to Plaintiff’s exposure to large amounts of radiation on those ships. That alone is
17   sufficient to assert personal jurisdiction over TEPCO for the injuries of which Plaintiffs
18   now complain, as it “purposefully directed” these activities at the home forum. Walker v.
19   Univ. Books, Inc., 382 F. Supp. 126, 130 (N.D. Cal. 1974)([c]ourts… frequently find a
20   constitutional basis for personal jurisdiction if a defendant commits a tortious act outside
21   the forum state which causes a personal injury to a resident of the state, even though the
22   defendant did not engage in any other activity within the forum); Dawkins v. White
23   Products Corp. of Middleville, Michigan, 443 F.2d 589 (5th Cir. 1971); Kroger Company
24   v. Dornbos, 408 F.2d 813 (6th Cir. 1969); Metal-Matic, Inc. v. Eighth Judicial District
25   Court, 82 Nev. 263, 415 P.2d 617 (1966); Gray v. American Radiator and Standard
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27
     5
       It is worth noting that, further, the remaining Lauritzen factors all indicate that
28   jurisdiction lies in California and choice of law lies in California and the United States.

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                                                                                  17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5654 Page 29 of 58


 1   Sanitary Corporation, 22 Ill.2d 432, 176 N.E.2d 761 (1961).
 2                                b. TEPCO Has Maintained Sufficient Contact With The
                                     State of California In Advancing Its Energy Business
 3
                                     Interests to Support Specific Jurisdiction.
 4
           Defendant TEPCO also has purposefully availed itself of the State of California
 5
     with respect to its energy business enterprise, generating sufficient contacts with the State
 6
     to support specific personal jurisdiction in this case. TEPCO registered to do business in
 7
     the State of California on May 16, 2003, stating that its principal office in the State of
 8
     California was located at 601 South Figueroa Street in Los Angeles, California. (Ex. 1)
 9
     At that time, it described its business purposes as including the “business of supply of
10
     electricity” and the “development, exploitation, processing… of energy resources.” (Ex.
11
     1.)   These are the very activities that give rise to Plaintiffs’ claims—namely, that
12
     TEPCO’s gross negligence caused the nuclear meltdown at Fukushima that resulted in
13
     their exposure to large amounts of radiation.
14
           During the period that TEPCO did business in California, it was negligent in
15
     maintaining, operating, repairing and inspecting the Fukushima Nuclear Power Plant.
16
     Plaintiffs do not contest that TEPCO surrendered its California business license at the end
17
     of 2006, but assert that their claims of negligence arose during the period that TEPCO
18
     was doing business in California. They assert that, prior to the incident in March 2011,
19
     TEPCO had been negligent in its ownership and operation of the power plant, including
20
     its engineering, construction, management, maintenance, repair, inspection and control.
21
     (TAC ¶¶ 109-140.) Plaintiffs specifically allege that Defendant TEPCO’s negligence
22
     dated back forty years before the incident, and that long-term negligence the cause of the
23
     incident. (TAC ¶ 140.) Plaintiffs allege specific incidents of misconduct during this
24
     period, including a steam explosion in August 2004 and the 2006 negligent release of
25
     radioactive steam at Fukushima. (TAC ¶ 140.)
26
           TEPCO is a forty-percent owner of Eurus Energy America Corporation
27
     (hereinafter, “Eurus”), a United States energy company incorporated in Delaware with its
28

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                                                                                  17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5655 Page 30 of 58


 1   principal executive office at 402 West Broadway, Suite 1750, San Diego, California
 2   92101. Eurus bills itself as an industry pioneer that “has been active in wind energy
 3   development in the United States since 1987,” and that “welcomes its role as the North
 4   American representative of an international corporation with a longstanding commitment
 5   to renewable energy technology.”            EURUS ENERGY AMERICA CORPORATION,
 6   https://eurusenergy.com/about/ (last visited June 13, 2018). Eurus has wind and solar
 7   energy projects throughout the State of California, including in this District, that are
 8   among the biggest energy projects in the United States.
 9         Moreover, TEPCO has maintained recent contact with California, relying on
10   California businesses for investment.       For example, TEPCO has partnered with
11   companies in California to expand its energy interests and platforms. This includes a
12   partnership with Elemental Accelerator, an energy innovation company headquartered in
13   Honolulu, Hawaii and Palo Alto, California. Last year, TEPCO announced its strategic
14   partnership with Energy Impact Partners, a California-based private equity firm that
15   invests in energy businesses. Energy Impact Partners Press Release, Tokyo Electric
16   Power Company Holdings Joints Energy Impact Partners Utility Coalition, MARKET
17   WIRED,        http://www.marketwired.com/press-release/tokyo-electric-power-company-
18   holdings-joins-energy-impact-partners-utility-coalition-2199649.htm.          Specifically,
19   TEPCO stated it joined this network to “enable us to identify and support the most
20   advanced technologies and business models in the industry to the benefit of our
21   customers.” Id. In 2016, TEPCO partnered with Energy Excelerator, a Hawaii and Palo
22   Alto-based nonprofit that funds innovative energy solutions.         Energy Excelerator
23   Partners with TEPCO, World’s Fourth Largest Utility to Bring Innovcation to Japan,
24   ELEMENTAL                                EXCELERATOR                                 BLOG,
25   https://elementalexcelerator.com/latest/articles/energy-excelerator-partners-with-tepco-
26   worlds-fourth-largest-utility-to-bring-innovation-to-japan.   TEPCO’s interest in the
27   partnership is business-oriented, looking to further expand its energy market in Japan:
28   “At a time when TEPCO is adapting to rapidly changing market conditions, this

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                                                                                17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5656 Page 31 of 58


 1   partnership will allow us to meet companies with innovative business models and
 2   technologies that can help us to better serve our customers in Japan.” Id. All of these
 3   partnerships focus on the very action that gave rise to Plaintiffs’ claims–the delivery of
 4   power on a large scale.
 5         Based on the foregoing, TEPCO has purposefully availed itself of the State of
 6   California by maintaining its business interests and contacts during the relevant period,
 7   and Plaintiffs’ claims arise from this energy business. Indeed, it would be appropriate for
 8   California to here assert its “‘manifest interest’ in providing its residents with a
 9   convenient forum for redressing injuries inflicted by out-of-state actors.” Rudzewicz, 471
10   U.S. at 473. Accordingly, this Court has specific jurisdiction over TEPCO for the claims
11   at issue here.
12                          ii.    This Court Has Jurisdiction Over TEPCO Pursuant to
                                   Fed. R. Civ. P. 4(k)(2).
13
14         If this Court finds that it does not have specific jurisdiction over TEPCO in this
15   action, then it should exercise jurisdiction pursuant to Fed. R. Civ. P. 4(k)(2), the
16   nationwide jurisdictional provision. Rule 4(k)(2) exists because the United States has an
17   important interest in ensuring that its laws are enforced in federal court against foreign
18   defendants who might otherwise evade state long arm statutes. L.A. Gem & Jewelry
19   Design, Inc. v. An & Associates, No. CV17-2417-CAS(JEMX), 2017 WL 6209816, at *9
20   (C.D. Cal. Dec. 6, 2017). This case is a paradigmatic example of the purpose of the
21   federal long arm rule. The United States has a compelling interest in this case—indeed,
22   the United States government weighed in at the Ninth Circuit to express its belief that the
23   case should be heard here in the United States.
24         Under Rule 4(k)(2), jurisdiction is conferred when (1) the exercise of jurisdiction is
25   consistent with the Constitution and laws of the United States, (2) serving a summons or
26   filing a waiver of service is also effective, (3) the claims arise under federal law, and (4)
27   the defendant is not subject to the jurisdiction of the courts of general jurisdiction of any
28   state. Fed. R. Civ. P. 4(k)(2); Holland Am. Line Inc. v. Wartsila N. Am., Inc., 485 F.3d

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                                                                                    17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5657 Page 32 of 58


 1   450, 461 (9th Cir. 2007). There is no dispute that service in this matter was effective, and
 2   TEPCO itself argues that it is not subject to general jurisdiction anywhere in the United
 3   States.
 4         Plaintiffs’ claims also “arise under federal law,” as required by Fed. R. Civ. P.
 5   4(k)(2). Notably, the federal long arm statute is not limited to federal question cases, but
 6   also applies to diversity cases that rely on federal law. World Tanker Carriers Corp. v.
 7   M/V Ya Mawlaya, 99 F.3d 717, 721 (5th Cir. 1996)(“the Advisory Committee intended
 8   Rule 4(k)(2) to reach not just federal question cases under § 1331 but all claims arising
 9   under substantive federal law”); United States v. Swiss Am. Bank, Ltd., 191 F.3d 30, 42
10   (1st Cir. 1999)(a case in which the rule of decision must be drawn from federal common
11   law presents a uniquely federal question); Greatship (India) Ltd. v. Marine Logistics
12   Sols. (Marsol) LLC, No. 11 CIV. 420 RJH, 2012 WL 204102, at *5 (S.D.N.Y. Jan. 24,
13   2012)(claims arise under the New York Convention, and therefore under federal law);
14   United Trading Company S.A. v. M.V. Sakura Reefer et al., No. 95–2846, 1996 WL
15   374154, at *4 (S.D.N.Y. July 2, 1996)(holding that Rule 4(k)(2) does apply to admiralty
16   cases); W. Africa Trading & Shipping Co. v. London Int'l Grp., 968 F. Supp. 996, 999–
17   1000 (D.N.J. 1997)(holding that “the Rule applies to any claims brought under
18   substantive federal law” because “if the Committee had intended to limit the Rule’s
19   application to federal question cases, it would have excluded admiralty and diversity
20   matters”). Here, while Plaintiffs’ complaint sets forth diversity as a basis for federal
21   jurisdiction, their claims still rely on substantive federal law. Several sources of federal
22   law are likely to govern certain rules of decision in this case, including treaties of the
23   United States, admiralty law, maritime law and federal common law. The application of
24   any of these sources would mean this case “arises under federal law” for purposes of
25   Rule 4(k)(2). See, e.g., World Tanker Carriers Corp. 99 F.3d at 721 (maritime law);
26   Swiss Am. Bank, 191 F.3d at 42 (federal common law); Greatship, 2012 WL 204102, at
27   *5 (treaties). Indeed, this Court found that aspects of this case are likely to be governed
28   by maritime and federal common law. Cooper, 166 F. Supp. 3d at 1136. As such,

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                                                                                 17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5658 Page 33 of 58


 1   Plaintiffs have met the “arising under federal law” prong of the 4(k)(2) analysis.
 2   Accordingly, if the first prong is satisfied, then this Court can assert jurisdiction under the
 3   federal long-arm statute.
 4              The United States’ exercise of jurisdiction over TEPCO plainly comports with due
 5   process. TEPCO is a foreign utility that has entered into a joint venture with a United
 6   States company, GE, its codefendant in this lawsuit.6          TEPCO has a United States
 7   headquarters, located in Washington, D.C., presumably to advance its energy business
 8   here in the United States, legally, financially and politically.           To hold TEPCO
 9   accountable in United States courts for the harm they have caused our servicemen and
10   women patently comports with due process.
11              Indeed, TEPCO has “purposefully availed” itself of the United States, maintaining
12   extensive contacts with the U.S., including investment and energy-related business.
13   TEPCO’s subsidiary, Eurus, is registered to do business in several states throughout the
14   United States, including Illinois, Iowa, Nebraska, Oregon, Texas, Wisconsin and
15   Wyoming. Eurus also has registered land holdings in several states—including Illinois,
16   Iowa, Nebraska, Oregon, Texas and Wisconsin—and has registered wind holdings in
17   several states—including Illinois, Iowa, Oregon, Texas and Wyoming. TEPCO has also
18   acquired substantial interests in nuclear projects in the United States. TEPCO entered
19   into an agreement, for example, with Nuclear Innovation North America LLC (NINA) to
20   invest in the South Texas Project, in exchange for a 10% equity interest in NINA,
21   amounting to a 9.75% interest in the South Texas Project. TEPCO has invested and
22   acquired interests in other companies throughout the United States, including Via
23
     																																																
24
     6
25     As explained supra, TEPCO’s relationship with GE is substantial, and they jointly
     ventured to operate the Fukushima Nuclear Power Plant at issue in this case. At the
26   relevant time, GE was headquartered in San Jose, California and its nuclear division was
27   located in California. GE designed and built the boiling water reactors at in California.
     GE installed the nuclear reactors at Fukushima, and there is a continuing relationship
28   between TEPCO in GE to maintain and service those reactors.

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                                                                                    17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5659 Page 34 of 58


 1   Science, a software application company headquartered in Cambridge, Massachusetts.
 2   TEPCO has also partnered with companies throughout the United States to expand its
 3   energy interests and platforms here. These include partnerships with Energy Impact
 4   Partners, a private equity firm investing in energy throughout the United States; United
 5   Wind, a wind energy company based in Brooklyn, New York; and Elemental
 6   Accelerator, an energy innovation company headquartered in Honolulu, Hawaii and Palo
 7   Alto, California.
 8              Moreover, for the reasons discussed supra, TEPCO “purposefully directed” its
 9   conduct at the United States when its gross negligence exposed U.S. Naval ships, and
10   Plaintiffs aboard them, to enormous amounts of radiation. (TAC ¶ 109.) The United
11   States Naval ships constitute United States territory for jurisdictional purposes. TEPCO’s
12   argument that it could not have “purposefully directed” its conduct at the U.S. Naval
13   ships because it took no actions after their arrival fails because (1) that is not the legal
14   standard7 and (2) it is factually erroneous. Indeed, TEPCO knew that United States
15   vessels were on their way to the Fukushima prefecture while radiation was released.
16   (TAC ¶ 109.) After the Fukushima meltdown, although TEPCO knew that the United
17   States had its ships located near the facility, TEPCO willfully disseminated false
18   information about the safety of the plant and the radiation emanating therefrom. (TAC ¶
19   118.) Moreover, TEPCO intentionally dumped in excess of 11,500 tons of radioactive
20   water into the Pacific Ocean during and following the meltdown of the Fukushima
21   Nuclear Power Plant, knowing that the United States Naval ships were in nearby waters.
22   (TAC ¶ 269.) All of this misconduct by TEPCO was clearly “purposefully directed” at
23   the United States. There is, accordingly, personal jurisdiction over TEPCO in the United
24   																																																
25
     7
       Defendant TEPCO cites no authority for the proposition that for conduct to be
26   “purposefully directed” at the U.S. Naval ships, it would have had to occur after their
27   arrival. To the contrary, it is foreseeable that a disaster of the magnitude Japan
     experienced would draw humanitarian aid from the United States and TEPCO was surely
28   aware once the U.S. ships were deployed to Japan.

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                                                                                 17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5660 Page 35 of 58


 1   States for the instant claims. Accordingly, the Court should apply the federal long-arm
 2   statute to exercise jurisdiction in here in the Southern District of California.8
 3                          C. This Case Should Not Be Dismissed Based On International Comity
                               or Forum Non Conveniens, As Nothing Has Changed Since the Ninth
 4
                               Circuit Decided Neither Warrant Dismissal.
 5
                This Court’s June 11, 2015 ruling, which was affirmed by the Ninth Circuit,
 6
     properly held that dismissal on grounds of international comity and forum non conveniens
 7
     was unwarranted. Cooper v. Tokyo Elec. Power Co., Inc., 166 F. Supp. 3d 1103 (S.D.
 8
     Cal. 2015), aff'd, 860 F.3d 1193 (9th Cir. 2017). Nothing has changed. Unfortunately,
 9
     the facts of this case, even those which might bear on the applicability of those doctrines,
10
     have not been further developed since that time because of continued delay vís a vís
11
     Defendants’ continual motions practice. TEPCO would now like the Court to reconsider
12
     its well-reasoned decision based on the mere passage of time. It remains, however,
13
     inappropriate to dismiss this case based on either international comity or forum non
14
     conveniens.
15
16              i. The Choice Of Law Question Does Not Weigh Heavily In Either Analysis,
17                 As It Has Not Been Made Yet And Because This Court Is Able To Apply
                   Any Potentially Governing Law.
18
19              As it stands, the Ninth Circuit has upheld the Court’s position that it “would be

20   applying some version of U.S. law, be it maritime law, federal common law, or

21   California state law.” Cooper 166 F. Supp. 3d at 1136.                As the Court has not

22   conducted—and the parties have not briefed—a full choice of law analysis, it remains

23   undecided what law will apply. Indeed, that issue is not ripe for determination at this

24   stage in the litigation. Moreover, it is likely that the Court will cobble together a mixed

25   set of governing laws for this case, as it will likely be appropriate to apply different law

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     8
      Application of this provision will only be necessary if the Court finds that no forum
28   within the United States has personal jurisdiction over TEPCO.

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 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5661 Page 36 of 58


 1   to different aspects of the case. For that, this Court is as equip to apply a mixed law
 2   framework, which is likely to include American law, as any Japanese court. For all of
 3   these reasons, the choice of law determination simply does not impact the forum non
 4   conveniens or international comity analyses.
 5                      a. Choice-Of-Law Is Not Ripe for Determination.
 6         To make a determination on the choice of law, a court must have sufficient factual
 7   information and legal briefing before it. Czuchaj v. Conair Corp., No. 13-CV-1901-BEN
 8   RBB, 2014 WL 1664235, at *9 (S.D. Cal. Apr. 18, 2014). Here, the Court has neither.
 9   The parties have only provided cursory briefing on choice-of-law, all of which have been
10   imbedded in multi-factor analyses of other issues. Given the significance of choice-of-
11   law in this case, the brief, tangential analyses provided by the parties to date is
12   insufficient for the Court to fully evaluate the issue. Moreover, this case requires that the
13   parties conduct discovery to develop the factual record prior to a choice-of-law
14   determination.
15         “The question of whether a choice-of-law analysis can be properly conducted at
16   the motion to dismiss stage depends on the individual case.”           Czuchaj, 2014 WL
17   1664235, at *9 (S.D. Cal. Apr. 18, 2014)(citing Bruton v. Gerber Prod. Co., No. 12–cv–
18   2412, 2014 WL 172111, at *13 (N.D.Cal. Jan.15, 2014) and Won Kyung Hwang v. Ohso
19   Clean, Inc., No. C–12–06355, 2013 WL 1632697, at *21 (N.D.Cal. Apr.16, 2013)).
20   Many courts, however, reserve the issue until after discovery, when the choice-of-law
21   analysis can be informed by a full factual record. See, e.g., Brazil v. Dole Food Co., No.
22   12-CV-01831-LHK, 2013 WL 5312418 at *11 (N.D. Cal. Sept. 23, 2013); Dean v.
23   Colgate-Palmolive Co., No. EDCV 15–0107 JGB, 2015 WL 3999313 at *11 (C.D. Cal.
24   June 17, 2015)(finding that the choice-of-law analysis “is not appropriate at this stage of
25   litigation,” but should instead be conducted “after the parties have engaged
26   in discovery”); Frenzel v. AliphCom, 76 F. Supp. 3d 999, 1007 (N.D. Cal. 2014)(finding
27   that a “choice of law analysis is a fact-specific inquiry which requires a more developed
28   factual record than is generally available on a motion to dismiss”); Won Kyung

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                                                                                  17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5662 Page 37 of 58


 1   Hwang, 2013 WL 1632697, at *21 (“Such an inquiry is most appropriate at the class
 2   certification stage of the case, after the parties have engaged in discovery”).
 3         Discovery, and development of a fuller factual record, would certainly inform the
 4   choice-of-law analysis in this case. For example, Plaintiffs and the Court are not privy to
 5   the terms of the contract between GE and TEPCO for the design, manufacture and
 6   installation of the boiling water reactors at the Fukushima Nuclear Power Plant. There
 7   may be choice-of-law and venue provisions contained in that contract that would weigh
 8   heavily in the instant choice-of-law evaluation. Plaintiffs and the Court similarly lack
 9   knowledge about the breakdown in operational responsibilities of the Fukushima Nuclear
10   Power Plant, including the operational and maintenance role of GE at the plant and the
11   involvement (if any) of the Japanese government in management of the plant’s finance
12   and operations.    Plaintiffs and the Court would also need to know what information
13   TEPCO had about the incoming United States naval ships that carried Plaintiffs, when it
14   had such information, and details regarding the dissemination of false information
15   regarding the radiation emissions from the Fukushima Nuclear Power Plant. Several
16   other critical aspects of the factual record are similarly within the Defendants’ exclusive
17   control, and the Plaintiffs have a right to discover that information prior to briefing the.
18   Moreover, that complete factual record must be before the Court for it to conduct the
19   thorough and complex choice-of-law analysis required here.
20         For all of these reasons, a choice-of-law analysis is premature at this stage, and
21   Plaintiffs respectfully submit that the Court should reserve the choice-of-law
22   determination until a fuller factual record can be developed in discovery.
23
                         b. In This Case, The Choice-of-Law Is Unlikely To Impact the Forum
24                          Non Conveniens Or International Comity Analyses.
25
           Once the choice of law issue is ripe for determination, it is very likely that the
26
     Court will develop its own mixed-law framework for the different issues in this case. In
27
     so doing, it may apply some American law—for example, admiralty, maritime, state and
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                                                                                   17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5663 Page 38 of 58


 1   federal common law—as well as some Japanese law. Under a mixed-law framework,
 2   this Court would be in as good a position as any—including Japanese courts—to render
 3   that legal framework. Moreover, because there is no question of liability against TEPCO,
 4   the outstanding issues of causation and damages rely on relatively straightforward law,
 5   which the Court is certainly equip to apply, even if it were Japanese law. For these
 6   reasons, the choice of law question will not weigh in favor of transfer to Japan under
 7   either the forum non conveniens or the international comity analysis.
 8         It is well established that “courts are endowed with the authority to erect a
 9   framework under which issues in a single case, arising out of a common nucleus of
10   operative facts, may be decided according to the substantive law of different states.”
11   Dalkilic v. Titan Corp., 516 F. Supp. 2d 1177, 1187 at n.4 (S.D. Cal. 2007); Putnam Res.
12   v. Pateman, 958 F.2d 448, 465 (1st Cir. 1992). Under the doctrine of depecage, a court
13   can apply the law of different states for different issues. Fireman's Fund Ins. Co. v.
14   Murray, 1992 U.S. App. LEXIS 15448, at *12 n.4 (9th Cir. 1992); Arno v. Club Med
15   Boutique, Inc., 134 F.3d 1424 (9th Cir. 1998) (applying California law to attorneys’, fees
16   even though French law governed the underlying tort dispute). Thus, this Court has the
17   power to set the applicable law, potentially even cobbling together the appropriate law
18   from California, Japan, American federal law and other appropriate sources. As such,
19   while Plaintiffs maintain that United States law will apply to this case, a blanket
20   determination of Japanese or United States law is not prescribed. This Court will be in as
21   good a position as any Japanese court to apply a mixed law framework, particularly given
22   its previous finding that there is a high likelihood that American law will primarily, if not
23   completely, apply.
24         Moreover, even if the Court were to determine that Japanese law should apply, this
25   Court is fully capable of applying the necessary law in this case. TEPCO has not pointed
26   to a single source of Japanese law that this Court would find troubling or difficult to
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                                                                                  17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5664 Page 39 of 58


 1   apply. Regardless of the choice-of-law, the only issues with respect to TEPCO will be
 2   causation and damages.9 Accordingly, the only issues to which law must be applied are
 3   the issues of causation and damages, and it is clear that this Court is able to apply the law
 4   of either forum to these issues.
 5         As TEPCO has acknowledged, the choice-of-law question for causation is whether
 6   the standard of proof will be preponderance of the evidence, as required under American
 7   law, or the Japanese standard of proof.10 Even assuming that Japanese law requires the
 8   standard set forth by TEPCO—a “high probability” standard—this is simply the
 9   application of a standard. As described by TEPCO, this standard looks like the American
10   “clear and convincing” standard, which the Court has undoubtedly applied in the past.
11   There is nothing new or difficult about applying such a standard of proof, and the Court
12   is certainly capable of applying the standard in accordance with Japanese law.
13         On the issue of damages, the only choice-of-law question is what damages will be
14   available to Plaintiffs. TEPCO admits that Plaintiffs can recover compensatory damages
15   regardless of what law applies. The only meaningful difference between Japanese and
16   United States law that TEPCO identifies is the availability of punitive damages.
17   (Notably, TEPCO has previously argued that punitive damages will not be available
18   under any law, but Plaintiffs strongly dispute that position.) Based on the choice-of-law,
19   the Court will either allow punitive damages or it will not. There is nothing complex
20   about the application of Japanese law, which simply does not permit punitive damages,
21   on this issue. This Court has undoubtedly presided over many cases in which punitive
22   damages were not available, and could certainly do so here if required. To the contrary,
23   																																																
24   9
       TEPCO has already admitted that it is liable for any injury caused to Plaintiffs by the
25   radiation from the Fukushima Nuclear Power Plant. (Status Conf. Tr. 20:9-11.)
     10
        Plaintiffs do not concede that the standards set forth by TEPCO are the proper
26   standards under Japanese law for this case. It does not matter, however, for the instant
27   analysis. Accordingly, and solely for the purpose of argument, Plaintiffs take TEPCO’s
     position as true to demonstrate that the choice-of-law on causation will not impact the
28   forum non conveniens and international comity analyses.

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                                                                                  17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5665 Page 40 of 58


 1   this Court would be uniquely qualified to administer United States law if punitive
 2   damages are allowed. Indeed, as Japanese law does not permit punitive damages, a
 3   Japanese court would struggle to apply our law on that issue. Accordingly, regardless of
 4   the choice-of-law, this Court is capable of applying the law of either forum on the issue
 5   of damages; in fact, this Court is more capable of applying punitive damages than a
 6   Japanese Court would be.
 7
           ii. The Doctrine Of Forum Non Conveniens Still Does Not Apply To This
 8             Case.
 9
           This Court and the Ninth Circuit held that private and public forum non conveniens
10
     factors weigh in favor of maintaining these claims here in the United States. After a
11
     thorough and comprehensive analysis of all the relevant factors, this Court ruled that
12
     “although Japan is an adequate alternative forum, the balance of the private and public
13
     interest factors suggests that it would be more convenient for the parties to litigate in a
14
     U.S. court.” Cooper, 166 F. Supp. 3d at 1136. The Ninth Circuit upheld this Court’s
15
     opinion that policy considerations do not require the dismissal based on forum non
16
     conveniens. Cooper v. Tokyo Electric Power Company, Inc., 860 F.3d 1193, 1211 (9th
17
     Cir. 2017). No new developments inform these rulings, and TEPCO simply renews those
18
     arguments already rejected by this Court and the Ninth Circuit.
19
           Forum non conveniens is a common law doctrine allowing a court to decline to
20
     exercise its jurisdiction in cases where litigation in the forum would place an undue
21
     burden upon one of the parties. Forum non conveniens is a discretionary, but
22
     “exceptional tool to be used sparingly.” Lueck v. Sundstrand Corp., 236 F.3d 1137, 1143
23
     (9th Cir. 2001); Ravelo Monegro v. Rosa, 211 F.3d 509, 514 (9th Cir. 2000). The burden
24
     is on the moving party to make “a clear showing of facts which establish such oppression
25
     and vexation of a defendant as to be out of proportion to plaintiff's convenience, which
26
     may be shown to be slight or nonexistent.” Ravelo, 211 F.3d at 514; see also Baris v.
27
     Sulpicio Lines, Inc., 932 F.2d 1540, 1549 (5th Cir. 1991). The moving party “bears the
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 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5666 Page 41 of 58


 1   burden of showing (1) that there is an adequate alternative forum, and (2) that the balance
 2   of private and public interest factors favors dismissal.” Dole Food Co., Inc. v. Watts, 303
 3   F.3d 1104, 1118 (9th Cir. 2002). A plaintiff's choice of home forum is generally granted
 4   deference, although such deference is not absolute. Ranza v. Nike, Inc., 793 F.3d 1059,
 5   1076 (9th Cir. 2015)(citing Piper Aircraft, 454 U.S. at 255). Here, the Court has ruled
 6   that Japan offers an adequate alternative forum, so the instant analysis focuses primarily
 7   on the balance of public and private interests.11
 8                                                      a.   Private Interest Factors
 9              The private factors include the following: (1) the residence of the parties and the
10   witnesses; (2) the forum's convenience to the litigants; (3) access to physical evidence
11   and other sources of proof; (4) whether unwilling witnesses can be compelled to testify;
12   (5) the cost of bringing witnesses to trial; (6) the enforceability of the judgment; and (7)
13   all other practical problems that make trial of a case easy, expeditious and inexpensive.
14   Cooper, 860 F.3d at 1211. This Court has already ruled that a balancing of the public and
15   private forum non conveniens factors weighs in favor of maintaining these claims here in
16   the United States. After a thorough and comprehensive analysis of all the relevant factors,
17   including those raised again by TEPCO, this Court ruled that “it would be more
18   convenient for the parties to litigate in a U.S. court.” Cooper, 166 F. Supp. 3d at 1136.
19   The Ninth Circuit affirmed this Court’s ruling, holding that policy considerations do not
20   require the dismissal based on forum non conveniens. Cooper, 860 F.3d at 1211.
21
22
23   																																																
24   11
       “[A]n alternative forum ordinarily exists when the defendant is amenable to service of
25   process in the foreign forum.” Lueck, 236 F.3d at 1137 (citing Piper Aircraft Co. v.
     Reyno, 454 U.S. 235, 254 n.22, 102 S. Ct. 252, 70 L. Ed. 2d 419 (1981)). “The foreign
26   forum must provide the plaintiff with some remedy for his wrong in order for the
27   alternative forum to be adequate.” Id. Plaintiffs do not concede that Japan is an adequate
     forum. However, in light of the Court’s previous ruling, Plaintiffs will focus their
28   arguments on the public and private factors.

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                                                                                        17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5667 Page 42 of 58


 1                        The Residence of the Parties and the Witnesses
 2         The Plaintiffs—over 200 named in this suit alone—and Defendant GE all reside
 3   here in the United States. While TEPCO is located in Japan, it does have a United States
 4   headquarters located in Washington, D.C.
 5                           The Forum’s Convenience to the Litigants
 6         Many of the servicemen and servicewomen involved in this action have severe
 7   medical issues that will greatly reduce their ability to prosecute their case in the foreign
 8   forum. Indeed, the Ninth Circuit confirmed this Court’s holding that “it would be more
 9   difficult for Plaintiffs to travel to Japan given their alleged medical conditions.” Cooper,
10   860 F.3d 1193, 1211 (9th Cir. 2017).        Given the severe medical conditions of the
11   Plaintiffs, the convenience of this Court weighs heavily in favor of retaining jurisdiction
12   in California.
13         The condition of the Plaintiffs and their ability to travel is an important
14   consideration in the private interest balancing test. See Altmann v. Austria, 317 F.3d 954,
15   972-73 (9th Cir.2002), aff'd on other grounds, 541 U.S. 677 (2004). In Altmann, the
16   plaintiff filed an action in the United States District Court for the Central District of
17   California against the Republic of Austria and the state-owned Austrian gallery, for the
18   recovery of paintings stolen by the Nazis in violation of international law. Id. Defendants
19   sought to have the matter dismissed for forum non conveniens arguing that the
20   “evidentiary sources, the witnesses, and the paintings are all located in Austria and a
21   United States district court would be required to apply Austrian law.” Id at 973.            In
22   upholding the District Court’s denial of the defendants’ motion to dismiss for forum non
23   conveniens, the Altmann court held:
24         We do not agree that these factors outweigh Altmann's choice of forum. Maria
           Altmann is an elderly United States citizen, who has resided in this country for
25
           over sixty years. The requisite foreign travel, coupled with the significant costs of
26         litigating this case in Austria, weigh heavily in favor of retaining jurisdiction in the
           United States.
27
28   Id. at 973-974.

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 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5668 Page 43 of 58


 1              Similarly, here, the condition of the Plaintiffs and their choice of forum outweigh
 2   any discovery issues raised by Defendants. Certainly, if concerns over the travel of one
 3   plaintiff was sufficient for the court to maintain the Altmann in the United States, the
 4   requirement of travel for the hundreds of servicemen and servicewomen in this case
 5   makes their interest in the chosen forum that much more magnified.
 6              Moreover, it would not appear inconvenient for TEPCO to litigate here. As
 7   detailed supra at pages 16-18 and 21, TEPCO has significant ties to the United States,
 8   including a subsidiary and ongoing contracts and partnerships with U.S. companies.
 9   Given its regular business dealings here, TEPCO undoubtedly has access to the U.S.
10   Particularly when compared with the difficulty Plaintiffs would face in traveling to Japan,
11   a U.S. court is not inconvenient to TEPCO, and this factor thus weighs in favor of
12   litigation here in the United States.
13                                 Access to Physical Evidence and Other Sources of Proof
14              While much of the information maintained by TEPCO may be located in Japan, the
15   Plaintiffs’ medical evidence and evidence related to the claims against GE are located
16   here in the United States. Plaintiffs allege that the latent design defects and construction
17   decisions—which were made by GE here in the United States— set the reactor on a
18   collision course with disaster. (TAC ¶¶ 141-194.) Information regarding these known
19   defects primarily requires discovery here in the United States. Moreover, the contract
20   between GE and TEPCO—an integral document for this case—should be here in the
21   United States within the possession of GE. Likewise, evidence related to GE’s design
22   and the work GE did in maintaining the reactors is in the United States and in the
23   possession of GE.12
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26   12
        As to TEPCO separately, the Ninth Circuit found it reasonable that the Court “agreed
27   that most of the relevant documents and physical proof remained in Japan, and also that
     litigating in the United States would make it more difficult to obtain testimony from non-
28   party witnesses located in Japan, but did not believe that these considerations outweighed

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                                                                                            17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5669 Page 44 of 58


 1                                                         Whether Unwilling Witnesses
                                                           Can Be Compelled To Testify
 2
 3              Although the availability of compulsory process is properly considered when
 4   witnesses are unwilling, it is less weighty when it has not been alleged or shown that any
 5   witness would be unwilling to testify. See, Peregrine Myanmar v. Segal, 89 F.3d 41, 47
 6   (2d Cir. 1996). Here, Defendant has only speculated as to whether third party witnesses,
 7   (i.e., U.S. military commanders and Japanese government officials) will consent to
 8   testify. As no witnesses has been demonstrated to be unwilling to testify, the Court
 9   should not attach much weight to the compulsory process factor. Peregrine, 89 F.3d at
10   47.
11                                                      The Cost of Bringing Witnesses to Trial
12              The Ninth Circuit confirmed that this is a relatively neutral factor. It found this
13   Court’s determination that, “[b]ecause of the nature of international litigation, each side
14   would incur expenses related to traveling and procuring witnesses in either forum,” to be
15   reasonable. Cooper, 860 F.3d 1193, 1211 (9th Cir. 2017). If anything, this factor weighs
16   slightly in favor of maintaining the case here in the United States. Indeed, for a trial in
17   Japan, all of the parties would have to travel to Japan. This would include over four
18   hundred plaintiffs, their physicians and other relevant damages witnesses, and all of the
19   GE witnesses who were involved in the defective design and maintenance of the boiling
20   water reactors. While a trial in the United States will also require international travel, it
21   would not be as oppressive and vexing to Defendant TEPCO, as most such witnesses are
22   or were in TEPCO’s employ. See Piper Aircraft Co., 454 U.S. at 241. This fact strongly
23   favors maintaining the action in this Court.
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26
27   Plaintiffs' interest in suing at home.” Cooper, 860 F.3d 1193, 1211 (9th Cir. 2017).
     However, that decision was made absent consideration of GE’s presence in the lawsuit.
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 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5670 Page 45 of 58


 1                               The Enforceability of the Judgment
 2         A judgment against TEPCO should be enforceable in either forum, particularly
 3   given TEPCO’s deep ties, through its partners and subsidiaries, to the United States.
 4                             b. Public Interest Factors
 5         The public interest factors also weigh in favor of maintaining the action in
 6   California.   The public interest factors relevant to a forum non conveniens analysis
 7   include “(1) the local interest in the lawsuit, (2) the court's familiarity with the governing
 8   law, (3) the burden on local courts and juries, (4) congestion in the court, and (5) the
 9   costs of resolving a dispute unrelated to a particular forum.” Cooper, 860 F.3d at 1211.
10   On the weighing of the public factors, the Ninth Circuit has already upheld the decision
11   of this Court that these factors were neutral. Id. Despite GE’s representation to the
12   contrary, the public factor analysis would be the same between GE and TEPCO.
13                             Local Interest in the Lawsuit
           While both governments may have a strong interest in the dispute, this factor
14
     slightly favors retaining the lawsuit here in the United States because of the strong
15
     interest in providing compensation for servicemembers and the ultimate costs of medical
16
     treatment lying with U.S. taxpayers. Cooper, 166 F. Supp. 3d at 1136.
17
                            Court's Familiarity with the Governing Law
18
           As explained supra at pp. 23-27, the law to be applied should be United States law,
19
     or some combination of laws that includes United States law. It is thus premature for the
20
     Court to conclude that it is unfamiliar with the governing law and the public factors favor
21
     maintaining jurisdiction in this Court. The Court will determine the applicable law after
22
     full briefing on the issues related to choice of law. The parties will fully address the
23
     specific laws that should apply to the various issues raised in the case. Even so, the Court
24
     will have the time and opportunity to become familiar with any Japanese laws that the
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     Court deems to be controlling, and can consult with Japanese law experts if necessary.
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                                                                                   17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5671 Page 46 of 58


 1                  Burden on Local Courts and Juries, Congestion in the Court and
                     Costs of Resolving a Dispute Unrelated to a Particular Forum
 2
           These factors appear to be relatively neutral, as none of these factors weigh heavily
 3
     in favor of either forum. In affirming the District Court’s ruling, the Ninth Circuit held
 4
     that the United States’ position was entitled to “deference.” Id. at 1209. In light of this
 5
     deference and since there is no meaningful change in the complexion of the lawsuit with
 6
     GE’s involvement, there is no reason for this Court to modify its prior ruling that it
 7
     rightfully had jurisdiction when considered under a comity analysis.
 8
           The sum of all these factors makes clear that there is no reason to disturb the
 9
     decisions of this Court and the Ninth Circuit holding that forum non conveniens does not
10
     counsel dismissal of this case and maintaining the matter in this Court.
11
12                  iii. This Case Still Should Not Be Dismissed Under The Doctrine Of
13                       International Comity.

14         This Court has already ruled that the doctrine of international comity does not
15   warrant dismissal in favor of a Japanese forum. As with forum non conveniens, the Court
16   provided a through and detailed analysis of the five nonexclusive factors in an
17   international comity analysis. Cooper 166 F. Supp. 3d at 1137. The Court concluded:
18         [B]oth the U.S. and Japan have an interest in having this suit heard within their
           forum. TEPCO has pointed to several reasons supporting dismissal of the present
19
           claims; and the Court concedes that some of TEPCO’s arguments are persuasive.
20         However, the reasons for maintaining jurisdiction of this case are more compelling,
           namely the Parties’ strong connection with this forum.
21
22   Id. at 1140.
23         Since GE is a U.S. based company, their inclusion in the lawsuit only weighs in
24   favor of the Court’s conclusion, since GE, like Plaintiffs, is connected to this forum.
25   During the appeal, the U.S. Government provided an amicus brief that urged affirmance
26   of the district court’s order, explaining that issues of international comity raised by this
27   case did not warrant dismissal. Cooper, 860 F.3d at 1207. In affirming the District
28   Court’s ruling, the Ninth Circuit held that the United States’ position was entitled to

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                                                                                 17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5672 Page 47 of 58


 1   “deference.” Id. at 1209. In light of this deference and since there is no meaningful
 2   change in the complexion of the lawsuit, even with GE’s involvement, there is no reason
 3   for this Court to modify its prior comity analysis and ruling that it should retain this case
 4              Comity is a “rule of 'practice, convenience, and expediency' rather than of law,”
 5   Mujica v. AirScan, Inc., 771 F.3d 580, 589 (9th Cir. 2014), and a discretionary act of
 6   deference by a national court to decline to exercise jurisdiction in a case properly
 7   adjudicated in a foreign state. Hartford Fire Ins. Co. v. California, 509 U.S. 764, 817
 8   (1993). In this case, the Mujica factors for weighing concerns of international comity
 9   still do not counsel in favor of dismissal.
10                                                      Location of Conduct in Question
11                 Mujica directs that the “location” factor consider both the locus of the harm
12   inflicted (on the U.S.S. Ronald Reagan and other U.S. naval ships, off the coast of Japan)
13   and the locus of the ensuing harm suffered (U.S.), and then weighs these in the balance to
14   decide the U.S. interest in using – or not using – a foreign forum. Mujica, 771 F.3d at
15   605.
16              As described supra at pp. 13-16, it is well established that U.S. territorial
17   jurisdiction extends beyond the land and sea boundaries of the United States. The fact
18   that Plaintiffs’ harms were caused by radiation, a trans-boundary danger that cannot be
19   contained within a nation’s borders, further emphasizes location of harm as an important
20   consideration that justifies the United States retaining jurisdiction. In re TMI Gen. Pub.
21   Utils. Corp., 67 F.3d 1103, 1119, fn.34 (3rd Cir. 1995). This is particularly true when
22   considering the value the U.S. places on international conventions13 whose purpose is to
23
     																																																
24
     13
25      Convention on Nuclear Safety (ratified 1999)(obligating parties with land-based
     nuclear power plants to maintain high level safety re: siting, design, construction,
26   operation, emergency preparedness); International Atomic Energy Agency Convention
27   on Assistance in the Case of a Nuclear Accident or Radiological Emergency (ratified
     1988) (international framework to speed assistance to countries responding to a
28   radiological emergency); IAEA Convention on Early Notification of a Nuclear Accident

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                                                                                          17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5673 Page 48 of 58


 1   coordinate rapid response to nuclear emergencies with the understanding that without
 2   rapid containment, released radiation will cross sovereign boundaries and cause
 3   unmediated harm. The trans-boundary nature of a radioactive release significantly
 4   undermines the notion that the situs of a nuclear accident automatically warrants that the
 5   local government has the greater concern.
 6              The fact that U.S. military personnel suffered the effects of TEPCO’s negligence
 7   while on U.S. territory means that the United States’ interest in retaining jurisdiction is
 8   immeasurably enhanced.
 9                                                             Nationality of the Parties
10              As service members, Plaintiffs are the embodied representatives of the United
11   States. This Court has noted that enlisted U.S. service members, who have otherwise
12   forfeited their individual freedom in the service of their country, 10 U.S.C § 502,
13   rightfully expect to receive full protection and care under the laws of the United States.
14   Cooper, 166 F.Supp.3d at 1137. This undeniably includes a reasonable expectation of a
15   U.S. forum to adjudicate their claims.14
16              The mandate to protect its soldiers makes it reasonable for the United States to
17   insist that its laws and its courts preside over its service members’ claims. This is
18   especially true when its soldiers are charged with serving humanitarian needs overseas
19   and are harmed due to the gross negligence of a private, for-profit corporation. It is
20   imperative that the harms be redressed in a U.S. court of law (1) to ensure opportunity to
21   obtain compensation commensurate with the severity of the harms, and (2) to assert the
22   																																																																																																																																																																			
23
     (ratified 1988)(addresses the potential for trans-boundary radioactive releases in one
24   country that threaten public health and environment of another country). The United
25   States is a signatory to these Conventions. http://www-ns.iaea.org/conventions.
     14
        The Court noted Plaintiffs’ physical illnesses to underscore their expectation of
26   receiving “full protection and care under the laws of the United States.” Cooper, 166
27   F.Supp.3d at 1137. As soldiers who were harmed by a private corporation’s negligence
     during a humanitarian relief effort, it is reasonable that the United States would consider
28   this variable when weighing its interest as opposed to deferring jurisdiction to Japan.

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 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5674 Page 49 of 58


 1   court’s role in incentivizing corporations to reform their practices and deter such conduct
 2   from occurring in the future. State Farm Mut. Auto. Ins. Co. v. Campbell 538 U.S. 408,
 3   416 (2003)(punitive damages serve the twin goals of punishment and deterrence); Egan
 4   v. Mutual of Omaha Ins. Co, 24 Cal.3d 809, 820 (1979)(deterrence of such “objectionable
 5   corporate policies” serves one of the principal purposes of punitive damages).
 6         In deciding whether to cede adjudication of Plaintiffs’ claims to a Japanese forum,
 7   this Court already determined, and was upheld by the Ninth Circuit, that Plaintiffs’
 8   interests as U.S. citizens and service members outweighed those of TEPCO, a publicly
 9   traded, private Japanese corporation. Cooper, 166 F.Supp.3d at 1137.
10                               Nature of the Conduct in Question
11         In evaluating this factor, a court must consider how the conduct in question elicits
12   the core prerogatives of the countries. Mujica, 771 F.3d at 606. While the District Court
13   acknowledged the undisputed concerns Japan has with respect to a nuclear accident
14   occurring on its soil, it rightfully concluded that this alone did not warrant jurisdictional
15   deference under comity. When viewed within the framework of international comity,
16   U.S. service members injured while providing humanitarian assistance in Japan should
17   not be perceived as having the same legal status as Japanese citizens, but rather that of
18   representatives of the U.S. government on U.S. territory. Their true status similarly
19   attenuates TEPCO’s repeated insistence that Plaintiffs can simply take their place in line
20   with their Japanese counterparts and await compensation under the Nuclear Damage
21   Liability and Decommissioning Facilitation Corporation Act (“NDF”). Such perspective
22   refuses to acknowledge the larger context under which Plaintiffs were called to Japan,
23   and how that context informs the manner in which their harms are to be redressed.
24         One of the core prerogatives of the United States is to provide humanitarian
25   assistance globally in response to disasters. As such, the United States is by far the largest
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                                                                                   17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5675 Page 50 of 58


 1   provider of humanitarian assistance worldwide.15 The U.S. military’s role in providing
 2   humanitarian assistance is sizeable, with Congress allocating resources and authority to
 3   the Department of Defense to carry out disaster relief missions. When enlisting the U.S.
 4   military to undertake humanitarian missions, those missions are an unequivocal
 5   expression of U.S. foreign policy and the military personnel carrying them out are
 6   representatives of the U.S. government.
 7              This generosity of spirit is greatly disrespected when military personnel are
 8   injured, not as a consequence of performing their mission’s duties, but due to a private,
 9   for-profit corporation’s gross negligence. TEPCO suggests that Plaintiffs should go to
10   Japan and have their claims resolved by a bureaucracy that is disbursing an amount of
11   compensation that pales in comparison with what Plaintiffs will actually need to attend to
12   their harms. The only claims being compensated in Japan through the NDF are for
13   economic damages. TEPCO is arguing that the harm their conduct created should be
14   borne by the U.S. government and the U.S. taxpayers.
15              The United States recognizes that, due to the extremely dangerous nature of
16   radioactive materials and their inability to be contained within a nation’s boundaries
17   when released, international protocols are necessary to set safety standards for both
18   handling and responding to a nuclear emergency. When any private corporation patently
19   disregards safety protocols and injures service members, the interests of the United States
20   are directly affected.
21
     																																																
22
     15
23      United States has heavily relied upon the U.S. military to provide humanitarian
     assistance and disaster relief. See, 10 U.S.C. § 404 Foreign Disaster Assistance (“the
24   President may direct the Secretary of Defense to provide disaster assistance outside the
25   United States to respond to manmade or natural disasters when necessary to prevent loss
     of lives or serious harm to the environment”); Department of Defense DoD 5100.46(4.1).
26   The U.S. government spends nearly $4.7 billion annually responding to humanitarian
27   emergencies worldwide. See Serafino, Nina, Department of Defense Role in Foreign
     Assistance.          Congressional     Research    Service,   Dec.     9,    2008     at
28   http://www.fas.org/sgp/crs/natsec/RL34639.pdf.

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                                                                                 17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5676 Page 51 of 58


 1                      Foreign & Public Policy Interests of the U.S. and Japan
 2         The United States, in its amicus brief to the Ninth Circuited, articulated its foreign
 3   policy interest:
 4         Nor does the Convention on Supplementary Compensation for Nuclear Damage
           reflect a policy that the State in which a nuclear incident occurred must be the
 5
           exclusive forum for adjudicating claims of civil liability when the Convention does
 6         not apply to the incident….
 7
           Most significantly, while the United States acknowledges Japan’s concerns that
 8         adjudication of claims outside its compensation scheme might undermine that
           scheme, Japan does not assert that the scheme is exclusive on its own terms. There
 9
           is no provision of Japanese law foreclosing lawsuits arising out of the
10         Fukushima….
11
           Retroactive application would significantly undermine the liability regime
12         established by the Convention. For U.S. interests in the Convention to be fulfilled,
           it is essential that the treaty regime be widely adhered to internationally. The
13
           Convention creates a compensation regime whereby, if an incident occurs for
14         which the baseline compensation is not sufficient, States Parties must pay into a
           supplementary compensation fund. See Convention art. III, IV. If a State were
15
           allowed to receive the benefit of the exclusive jurisdiction provisions and perhaps
16         even access to the supplementary compensation fund by becoming a party to the
           treaty after a nuclear incident has taken place in its territory, there would be no
17
           need for any State to join the Convention prior to such an incident occurring.
18
19   Ex. 2 at 2, 11-15.

20         Although it is not the role of the judiciary to judge government policies, it is the
21   judiciary’s responsibility to weigh those policies when determining which country has a
22   stronger interest. The United States, as the originator and drafter of the Convention, has a
23   strong interest in seeing the Convention succeed.        As the government has asserted,
24   however, retroactive adherence to the “exclusive jurisdiction” clause actually undermines
25   the force of the Convention. Accordingly, the policy interests of the United States
26   strongly counsel in favor of retaining jurisdiction here in the United States.
27         On the other hand, Japan’s motivation for ratifying the Convention may not reflect
28   its policy interests at all, but rather reflect its immediate desire to attend to the dire

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                                                                                      17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5677 Page 52 of 58


 1   cleanup challenges at Fukushima. Japan was arguably “forced” to ratify the Convention
 2   in order to access the technologies that will enable it to clean up the reactor sites. The
 3   fact that Japan had not ratified the Convention prior to this litigation is evidence that
 4   Japan’s foreign policy interests did not favor exclusive jurisdiction until TEPCO’s
 5   corporate interests favored it.
 6         The underlying rationale for the CSC is to indemnify third-party nuclear industry
 7   corporations. For purposes of deciding comity, the Court should also consider that
 8   another U.S. foreign policy, a commitment to providing worldwide humanitarian
 9   assistance, would be undermined by transferring this case to Japan. In allocating
10   tremendous resources to providing humanitarian assistance worldwide, the United States
11   ought not to also bear the difference between the limited compensation received under
12   the Japanese Compensation Act and the actual costs for medical and disability expenses
13   in the event that its relief workers are injured by a for-profit corporation while
14   undertaking their duties.
15         Both in equity and law, the U.S. interest in these cases is stronger than that of
16   Japan. As comity is a discretionary “prudential abstention…that counsels voluntary
17   forbearance,” Mujica, 771 F.3d at 598, this Court correctly decided that on balance,
18   comity does not warrant that it defer jurisdiction in favor of Japan.
19                                     The Adequacy of the Forum
20         Although this Court has found Japan to be an adequate forum for adjudication of
21   Plaintiffs’ claims, Plaintiffs maintain that if they were forced to bring suit in Japan they
22   would face severe partiality, due to the political nature of the Japanese government’s
23   allocation of relief funds. Partiality may render an alternative forum inadequate. Satz v.
24   McDonnell Douglas Corp., 244 F.3d 1279 (11th Cir. 2001).
25         The fact that the agency mandated to address citizens’ claims is not a private,
26   independent entity, but an agency of the Japanese Government, creates a strong
27   possibility that political concerns will overshadow Plaintiffs’ claims, were they forced to
28   bring them in Japan. Japanese attorneys Toshio Yanagihara and Kenichi Ido and Kentaro

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                                                                                 17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5678 Page 53 of 58


 1   Abe, member of the Fukushima Collective Evacuation Trial Team, all familiar with the
 2   civil justice system in Japan, state unequivocally and emphatically that the Plaintiffs in
 3   this action will not receive a fair trial in the courts in Japan. Ex. 3 at 5, Ex. 4 at 6, Ex. 5
 4   at 2.) These seasoned Japanese attorneys cite instances of unfair rulings by the Japanese
 5   courts responding to the Fukushima disaster. (Ex. 3 at 3-6, Ex. 4 at 3, Ex. 5 at 2-9.)
 6         The right to adjudication by an impartial decision maker is a bedrock principle of
 7   due process. In re Murchison, 349 U.S. 133, 136 (1955). The fact that TEPCO has
 8   essentially been nationalized by the Japanese Government will make it difficult to obtain
 9   a fair and impartial proceeding in Japan. Plaintiffs will effectively be suing the Japanese
10   government in Japanese courts on an issue that holds significant shame and
11   disappointment for TEPCO and the Japanese government. Cf. Helfant v. Kugler 500 F.2d
12   1188, 1201 (3d Cir. 1974 )(courts are sometimes asked to resolve controversies in which
13   a party holds some power to affect adversely the very judges who are deciding the
14   dispute). There is a reasonable concern that Plaintiffs will not receive impartial and fair
15   treatment, either in a Japanese court or through levying claims with the NDF.
16         IV.    Plaintiffs Have Sufficiently Plead Their Claims.
17         Plaintiffs provide ample detail and factual information in their Complaint to state a
18   claim for relief. “To avoid a Rule 12(b)(6) dismissal, a pleading need not contain
19   detailed factual allegations, it need only plead “enough facts to state a claim to relief that
20   is plausible on its face.” TreeFrog Developments, Inc. v. Seidio, Inc., No. 13CV0158-
21   IEG KSC, 2013 WL 4028096, at *2 (S.D. Cal. Aug. 6, 2013)(citing Twombly, 550 at
22   570). Indeed, there is “facial plausibility when the plaintiff pleads factual content that
23   allows the court to draw the reasonable inference that the defendant is liable for the
24   misconduct alleged.” Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 556). Here,
25   Plaintiffs have far exceeded that bar, providing substantial factual detail regarding the
26   basis for their claims.
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                                                                                    17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5679 Page 54 of 58


 1                             i.     Plaintiffs Have Sufficiently Pled Their Class Claims,
                                      And TEPCO Has Raised Issues More Suited When
 2
                                      Class Certification Is Briefed and Considered.
 3
           Plaintiff’s class allegations are sufficient for purposes of Rule 12(f) and the issues
 4
     that TEPCO raises are more appropriate for consideration at the class certification stage
 5
     of this litigation. Contrary to TEPCO’s contention, Plaintiffs have defined the class of
 6
     plaintiffs as the more than 70,000 members of the armed forces who served in Operation
 7
     Tomodachi and were exposed to radiation as a result of the Fukushima disaster.
 8
     Plaintiffs have averred that the core set of facts—the negligence of TEPCO and GE that
 9
     led to the meltdown—and injuries—radiation exposure—are common to all class
10
     plaintiffs. Regardless, these are all issues that can be narrowed and briefed during the
11
     class certification process, at which time Plaintiffs are required to provide additional
12
     information to Defendants and the Court regarding the proposed parameters of the class.
13
     To the extent that the Court finds that further definition of the class is necessary at this
14
     stage, then Plaintiffs seek leave to amend this portion of their complaint to so provide.
15
                               ii.    Plaintiffs have sufficiently and pled their personal
16
                                      injury claims.
17
           Defendant appears to primarily complain that Plaintiffs did not provide enough
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     personal information about themselves or the nature of their injuries. To the contrary,
19
     Plaintiffs have described that they are all “among the members of the U.S. Navy crews of
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     the U.S.S. RONALD REAGAN…[and] crews of other vessels participating as part of
21
     the Reagan Strike Force, 7th Fleet, land-based service personnel, and/or their
22
     dependents.” (TAC ¶ 4.) They describe that they were all “repeatedly exposed to
23
     ionizing radiation on or after March 11, 2011, due to the release of radioisotopes from
24
     the Fukushima Nuclear Power Plant.” (TAC ¶ 4.) The Complaint also considerably
25
     details the grossly negligent acts and omissions of TEPCO that led to the release of that
26
     radiation.
27
           Although specific description of their injury is not required at the pleading stage,
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                                                                                  17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5680 Page 55 of 58


 1   Plaintiffs also allege that they each suffered injury as a result of the radiation exposure
 2   caused by TEPCO’s gross negligence, including: “illnesses such as Leukemia, ulcers, gall
 3   bladder removals, brain cancer, brain tumors, testicular cancer, dysfunctional uterine
 4   bleeding, thyroid illnesses, stomach ailments, birth defects, death, and a host of
 5   other complaints unusual in such young adults and victims.” (TAC ¶ 83.) They also
 6   allege that they “will require treatment for their deteriorating health, medical monitoring,
 7   payment of their medical bills, appropriate health monitoring for their children, and
 8   monitoring for possible radiation induced genetic mutations.” (TAC ¶ 83.)
 9          If Defendant would like additional detail, Plaintiffs invite them to pursue discovery
10   in this matter and have already consented to independent medical examinations of
11   Plaintiffs. Plaintiffs are more than willing to engage in the exchange of additional
12   information during discovery. Indeed, they would be happy to finally litigate this case on
13   its merits.
14          If the Court determines the Complaint does not contain sufficient allegations, it
15   “should grant leave to amend even if no request to amend the pleading was made, unless
16   it determines that the pleading could not possibly be cured by the allegation of other
17   facts.” Lopez v. Smith, 203 F.3d 1122, 1127 (9th Cir. 2000).               In making this
18   determination, the court should consider factors such as “the presence or absence of
19   undue delay, bad faith, dilatory motive, repeated failure to cure deficiencies by previous
20   amendments, undue prejudice to the opposing party and futility of the proposed
21   amendment.” Moore v. Kayport Package Express, 885 F.2d 531, 538 (9th Cir. 1989).
22                             iii.   Manuel Leslie Has Properly Pled His Wrongful Death
                                      and Survival Claims, As An Affidavit Is Only
23
                                      Required in State Court.
24
            Defendant TEPCO erroneously avers that Manuel Leslie failed to comply with the
25
     state procedural requirements of California Code of Civil Procedure section 377.32. That
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     is a rule of California state court procedure, however, and does not apply to federal court
27
     actions. “Section 377.32 is a state procedural rule, and in federal court, the Federal Rules
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                                                                                 17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5681 Page 56 of 58


 1   of Procedure govern.” Smith v. Specialized Loan Servicing, LLC, No. 16CV2519-
 2   GPC(BLM), 2017 WL 4050344, at *2 (S.D. Cal. Sept. 13, 2017)(citing Hanna v. Plumer,
 3   380 U.S. 460, 471 (1965)(federal rules of procedure apply in the district courts) and In re
 4   Baycol Prods. Litig., 616 F.3d 778, 787 (8th Cir. 2010)(district court abused its discretion
 5   in relying on California Code of Civil Procedure section 377.32 to make a determination
 6   under Rule 25)). Plaintiff has established that he is the successor-in-interest of decedent’s
 7   claims,16 and therefore his claims are proper.
 8                                                 iv.   Plaintiffs Appropriately Bring Their Claims for Loss
                                                         of Consortium, For Those Plaintiffs Who Are Spouses
 9
                                                         Of The Injured.
10
                Many of Plaintiffs are the spouses of injured servicemen and women, and therefore
11
     have properly brought these claims. To the extend the Court believes additional
12
     information is required regarding the identity of these Plaintiffs, they request leave to
13
     amend the complaint to so provide.
14
                                                            CONCLUSION
15
                Five years into litigating these claims, and after appeal to the Ninth Circuit,
16
     TEPCO for the first time raises the defense of personal jurisdiction in its Motion to
17
     Dismiss. It has plainly waived the defense, and there has been no change in law that
18
     made this defense “newly available.”                         In addition, TEPCO points to no persuasive
19
     developments in this case that merit reconsideration of this Court’s well-reasoned forum
20
     non conveniens and international comity analyses. Lastly, Plaintiffs have properly and
21
     sufficiently pled all of their claims. For these reasons, Plaintiffs respectfully submit that
22
     Defendant TEPCO’s Motion to Dismiss should be denied.
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     16
27     If the Court requires, Plaintiffs can cure the alleged defect in these claims by filing the
     affidavits Defendant demands.
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                                                                                               17-cv-1671 JLS JLB
 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5682 Page 57 of 58


 1   DATED: June 20, 2018       RESPECTFULLY SUBMITTED,
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 4
                                By:   /s/ CHARLES A. BONNER
 5
                                      CHARLES A. BONNER
 6
 7
                                      /s/_JOHN R. EDWARDS
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                                      JOHN R. EDWARDS
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                                      /s/_A. CABRAL BONNER
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                                      A. CABRAL BONNER
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13
                                      /s/_PAUL C. GARNER
14
                                      PAUL C. GARNER
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16
                                      /s/_CATHARINE E. EDWARDS
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                                      CATHARINE E. EDWARDS
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                                      Attorneys for Plaintiffs
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 Case 3:12-cv-03032-JLS-MSB Document 155 Filed 06/20/18 PageID.5683 Page 58 of 58


 1                                CERTIFICATE OF SERVICE
 2   I, CATHARINE E. EDWARDS, am an attorney at Edwards Kirby LLP, counsel of
 3   record for Plaintiffs in this action. I certify that on June 20, 2018, I caused the attached
 4   document to be served via this Court’s Electronic Filing System on counsel for
 5   Defendants Tokyo Electric Power Company and General Electric, who are registered
 6   users of that system. See Local Civil Rule 5.4.
 7   DATED: June 20, 2018
 8                                   BY:    /S/ CATHARINE E. EDWARDS
 9                                          CATHARINE E. EDWARDS
10                                          ATTORNEY FOR PLAINTIFFS
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